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                       UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF NEW YORK




NIKE, INC.,                            Case No. 1:22-cv-000983-VEC

              Plaintiff,

      v.

STOCKX LLC,

              Defendant.




                   EXPERT REPORT OF DEJONGH “DEE” WELLS




                                May 5, 2023
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I.     INTRODUCTION

       A.      Sneakerheads

       1.      Sneaker enthusiasts, also called “Sneakerheads,” are individuals with a deep
passion for buying, collecting, trading, and/or learning about sneakers. Sneakerheads are
individuals of all ages, races, and nationalities. They often care about the history, the design, the
craftsmanship, and the culture that surrounds each sneaker release. It is common for
Sneakerheads to be passionate about the sneakers they collect, often treating them like wearable
pieces of art that deserve to be admired and preserved.

       2.      Sneakerhead culture is an ever-evolving subculture. Its roots can be traced back to
the 1970s – 1990s when sneakers became more than a fashion statement and served as a status
symbol. Owning the latest and most coveted sneakers was a way of showing off your style, your
taste, and your connections. And for many Sneakerheads, each sneaker release was an event to
be anticipated, lined up for, and celebrated.

       3.      As sneakers have become more popular over the last few decades, the relatively
small and niche community of Sneakerheads has grown. More and more people have started
collecting sneakers, and the Sneakerhead subculture has become more mainstream. Today,
sneaker releases occur online and in stores; both are highly popular events that draw attendance
from many Sneakerheads. The limited nature of sneaker releases by brands, and the resulting
scarcity of such sneakers, has led to an active resale market in which popular sneaker models are
bought and sold. The resale market for sneakers has exploded in recent years and is expected to
continue its rapid growth.

       4.      The Internet has been crucial in the expansion of Sneakerhead culture. It has made
it easier to connect with fellow Sneakerheads and, relatedly, to find and trade difficult-to-obtain
sneakers. More recently, social media platforms like Instagram and YouTube have allowed
Sneakerheads to connect and share their passion with others around the world at an even greater
scale. In addition, the development of the Internet and accompanying emergence of more reliable
online marketplaces for sneakers has fueled a boom for sneakers and the growth of Sneakerhead
culture.



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        B.       Parties and allegations

        5.       StockX is an online resale marketplace for high-end collectibles such as “the
hottest sneakers, apparel, electronics, collectibles, trading cards and accessories.” 1 StockX is
particularly popular amongst Sneakerheads. 2 In January 2022, StockX started offering Vault
NFTs, which StockX describes as “readily tradable digital tokens that track ownership of
[associated] physical product[s],” like sneakers and trading cards, that are stored in StockX’s
climate-controlled, high security vault. 3

        6.       Nike is the world’s largest producer of athletic shoes and sports apparel,
accounting for half of sneaker sales globally. 4 Nike has been an instrumental part of the rise of
Sneakerhead culture since its collaboration with Michael Jordan in 1984 and the release of the
Nike Air Jordan 1 in 1985. 5 Alongside its mainstream products, such as running shoes and




1
    StockX, “The Current Culture Marketplace,” https://stockx.com/about/how-it-works (“Our mission is to provide
    access to the world’s most coveted items in the smartest way possible. Buy and sell the hottest sneakers,
    apparel, electronics, collectibles, trading cards and accessories.”).
2
    See, for example, Launched, “Launched: How StockX Won Over Sneakerheads,” February 23, 2022,
    https://readlaunched.substack.com/p/-launched-how-stockx-won-over-sneakerheads (explaining that StockX
    was born out of a desire to “creat[e] a commerce platform for the sneakerheads who treated their shoes like
    stocks, spending hours a day on their ‘portfolio’” and that StockX’s “seller-friendly features were noticed – and
    appreciated – on sneakerhead forums…”); Sneaker Jagers, “How StockX Became the Biggest Sneaker
    Marketplace,” September 30, 2021, https://www.sneakerjagers.com/en/n/how-stockx-became-the-biggest-
    sneaker-marketplace/27074 (“StockX is known as one of the largest marketplaces of sneakers and streetwear.
    The billion dollar company was founded in 2015 and has been the place for all exclusive models and items ever
    since. In a short time, the company has become wildly popular and impossible to imagine the sneaker world
    without it.”).
3
    StockX, “NFTs,” https://stockx.com/lp/nfts.
4
    See, for example, Bloomberg, “Phil Knight & family,” https://www.bloomberg.com/billionaires/profiles/philip-
    h-knight (“Knight is the founder and largest shareholder of Nike, the world’s biggest maker of athletic shoes
    and sports apparel. The Beaverton, Oregon-based company operates more than 1,100 stores and had revenue of
    $44.5 billion in the year to May 2021.”); FDRA, “Athletic Footwear Market Dominated by Asia-Pacific With
    42% Share,” https://fdra.org/latest-news/athletic-footwear-market-dominated-by-asia-pacific-with-42-share
    (“Nike is by far the world’s largest athletic shoe manufacture [sic], with an estimated market share of about
    50%.”).
5
    See, for example, Sotheby’s, “The Meteoric Rise of the Nike Air Jordan Brand,” January 25, 2023,
    https://www.sothebys.com/en/articles/the-meteoric-rise-of-the-jordan-brand (“In 1984, Nike signed up-and-
    coming basketball rookie Michael Jordan to an unprecedented $500,000 a year endorsement deal… But it was
    the release of the first Jordan shoe in 1985 that truly propelled the Jordan brand to new heights. The first Jordan
    shoe, the Nike Air Jordan 1, was an instant hit, kicking off modern sneaker collecting as we know it.”).



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clothing, Nike has joined other brands in releasing limited edition sneakers, including through
collaborations with celebrities like fashion designer Virgil Abloh and rapper Travis Scott. 6

         7.       Nike alleges that StockX engages in “selling counterfeit Nike goods and making
false and/or misleading claims regarding the purported authenticity of those goods.” 7 According
to Nike, StockX “knows that its false and/or misleading statements about the authenticity of the
Nike goods for sale on its platform deceives consumers. Nevertheless, StockX continues to
engage in such improper and unlawful business practices to attract consumers to its platform.” 8

         8.       Nike also alleges that “without Nike’s authorization or approval, StockX is
“minting” NFTs that prominently use Nike’s trademarks, marketing those NFTs using Nike’s
goodwill, and selling those NFTs at heavily inflated prices to unsuspecting consumers who
believe or are likely to believe that those ‘investible digital assets’ (as StockX calls them) are, in
fact, authorized by Nike when they are not.” 9

         9.       Finally, Nike claims that “Nike-branded Vault NFTs […] are, in fact, new virtual
products that StockX has bundled with additional StockX services (e.g., ‘Vault Services’) and
unspecified benefits (e.g., ‘exclusive access to StockX releases, promotions, events’).” 10


         C.       Assignment

         10.      I have been asked by counsel to:

               a. Provide an overview of Sneakerhead culture and the state of the sneaker market;

               b. Explain who buys sneakers and why;

               c. Describe the resale market for sneakers and its recent evolution;



6
     See, for example, Jessica Testa, “Sneaker Sellers Wrestle With Price Spikes After Virgil Abloh’s Death,” The
     New York Times, December 16, 2021, https://www nytimes.com/2021/12/16/style/sneakers-price-spikes-virgil-
     abloh.html; Complex, “Travis Scott’s Last Air Jordan Collaboration Set a Nike Record,” September 29, 2022,
     https://www.complex.com/sneakers/travis-scott-nike-air-jordan-1-low-reverse-mocha-snkrs-record.
7
     First Amended Complaint, Nike, Inc. v. StockX LLC, No. 1:22-cv-000983-VEC, May 25, 2022 (“First Amended
     Complaint”), ¶ 15.
8
     First Amended Complaint, ¶ 113.
9
     First Amended Complaint, ¶ 5.
10
     First Amended Complaint, ¶ 6.



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             d. Discuss the prevalence of counterfeit sneakers and their recent evolution;

             e. Discuss how Sneakerheads purchase sneakers, including on the resale market; and

             f. Explain how StockX creates value for Sneakerheads, including through Vault
                NFTs.

       11.      I am being compensated for my services in this matter at an hourly rate of $800. I
have been assisted by certain employees of Analysis Group to prepare this report. I have not
previously provided expert testimony. My curriculum vitae is in Appendix A.


       D.       Summary of opinions

       12.      I have reached the following opinions:

             a. A Sneakerhead is a person who has a deep passion for buying, collecting, trading,
                and/or learning about sneakers. Individuals of all ages, races and nationalities can
                be Sneakerheads. See Section III.A.

             b. Sneakerhead culture has evolved greatly since starting in the 1970s. Once
                considered niche, Sneakerhead culture has grown mainstream largely due to the
                introduction of limited-edition sneakers and sneakers created in collaborations
                with notable figures, which drive the popularity of sneakers, as well as the mass
                adoption of the Internet, which allowed sneakers to be marketed and sold more
                widely. See Section III.B.

             c. There are various reasons why Sneakerheads may purchase sneakers, including to
                collect, to memorialize key people and events, to display as art, to be “cool,” and
                to purchase as an investment. Sneakerheads may purchase sneakers for multiple
                reasons at the same time, and these reasons can change over time. See Section IV.

             d. Scarcity has been an important driver of Sneakerhead culture and hype. Many
                Sneakerheads strive to own products that are rare and that nobody else has.
                Brands, including Nike, use scarcity as a marketing device: releasing sneakers in
                limited quantities helps build hype. Scarcity created by brands drives many
                Sneakerheads to purchase sneakers on the resale market, particularly limited
                release styles that they may not have been able to obtain directly from the brand.


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         This in turn can reinforce the popularity of the brand. As a result, limited edition
         sneakers are more likely to fetch high prices in resale markets. The resale market
         also allows Sneakerheads to trade in rare, vintage styles that are no longer
         accessible directly from brands or authorized sellers. See Section V.A-B.

    e. The development and popularization of the Internet and online resale platforms
         such as StockX have transformed the resale market from a physical hunt for
         valuable sneakers in select locations to a more democratized, open, and virtual
         hunt for valuable sneakers. Sneakerheads can also use online forums and the
         Internet to gain access to new information and research new sneaker models in
         more depth. See Section V.C.

    f. Certain industry factors have led to the presence of a large number of counterfeits
         in the resale sneaker market. First, the scarcity of popular models of sneakers –
         which leads to disproportionate demand relative to the number of sneakers sold
         directly by brands and authorized resellers and thus drives consumers to purchase
         in resale markets, where prices are higher – has motivated counterfeiters to
         attempt to take advantage of that demand. Second, the use of digital technology
         by some brands and some resellers has led to an increase in the incentives to
         produce counterfeit sneakers, while certain aspects of the transition to online
         resale markets, such as some resellers not providing verification services, have
         made it easier for counterfeiters to sell their fraudulent goods to customers. Third,
         Sneakerheads commonly recognize that the gap in perceived quality between
         counterfeit and Nike sneakers has decreased in recent years. See Section VI.

    g.   Sneakerheads tend to be sophisticated consumers, who not only make purchases
         with care but also understand the landscape of the sneaker market. They are often
         aware that counterfeit sneakers, including counterfeit Nike sneakers, are common
         and generally understand that there is always a risk they will get counterfeits
         when purchasing on the resale market. See Section VII.

    h. StockX and other, newer online platforms, have improved the resale experience
         through verification services that decrease the probability of buying a counterfeit
         pair of sneakers. Many platforms, including StockX, are now taking various


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                 measures to verify the authenticity of sneakers sold through their platforms to
                 make resale transactions safer and more secure. StockX operates a ship-to-verify
                 model: StockX’s trained experts work to verify the authenticity of the sneakers
                 before shipping them on to the buyer. This model helps buyers feel confident that
                 steps have been taken to verify the quality of the sneakers they purchase. StockX
                 provides other valuable services to its customers, including making it easy for
                 sellers to list sneakers and buyers to bid for or buy them, and providing a payment
                 processing system once a buyer and a seller decide to transact. See Section
                 VIII.A-B.

              i. Because many Sneakerheads purchase sneakers as items to collect or investments
                 to trade rather than commodities to wear, Vault NFTs offer Sneakerheads many
                 benefits relative to traditional sneaker collecting and trading. StockX’s Vault NFT
                 model is a useful tool for Sneakerheads who prefer to place their sneakers in
                 storage or who invest in and flip sneakers for a profit. Vault NFTs help address a
                 number of challenges associated with collecting and trading physical sneakers.
                 First, it is expensive and time-consuming to trade physical sneakers. Every pair of
                 sneakers a person sells needs to be verified and shipped, and those costs add up if
                 a Sneakerhead trades a large number of sneakers. Second, it is challenging for
                 Sneakerheads to keep track of the sneakers in their collections. Third, it is
                 expensive and challenging to store sneakers, which is a key topic of discussion
                 amongst Sneakerheads. See Section VIII.C.

        13.      In forming my opinion in this report, I have relied on my extensive experience as
part of the Sneakerhead community, which I discuss in Section II, and the sources listed in
Appendix B.


II.     QUALIFICATIONS

        A.       Early life, education, and my sneaker collection

        14.      I have loved and been obsessed with sneakers since 1979. As a child growing up
in St. John, in the U.S. Virgin Islands, my obsession with sneakers started with my parents,
whom I watched play tennis in iconic Rod Laver and Stan Smith adidas sneakers. At school,


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despite a strict uniform code, I found ways to express my own style by swapping the required
black or brown leather shoes for pairs of Puma Clyde’s or Pony City Wing Hi’s. I worked and
saved up my money so that I could buy sneakers, and by the end of high school, I owned about
60 pairs. At the time, I viewed my sneakers not only as accessories, but as part of my identity as
a footwear fashion-forward person who enjoyed participating in a variety of sports, including
football, basketball, and tennis.

       15.     In 1991, I left St. John for my undergraduate degree at Bryant College in Rhode
Island, where I studied business, and graduated in 1995.

       16.     Thanks to the Internet and its early message boards, I discovered that others
shared my passion for sneakers, and I began to understand the true social significance sneakers
held. Through these early online connections with fellow Sneakerheads, I realized I wanted to
use my expertise and knowledge of sneakers professionally.

       17.     My love for sneakers has never waned. I continue to obsess over sneakers and
their impact on culture, and I am always excited to see what new releases and collaborations are
on the horizon. I currently own more than 700 pairs of sneakers, and I estimate that I have owned
more than 4,000 pairs in total. I actively wear around 60 pairs of sneakers; the rest are in a
climate-controlled storage unit, being displayed in museum exhibits, or actively used as example
material for my SOLEcial studies educational program, which I discuss more in Section II.B.5-
6.


       B.      Sneakers as a vocation and my role in sneaker culture

       18.     Over the last 20 years, I have transformed my passion for sneakers into a
profession. I have engaged with the Sneakerhead community in multiple ways, including as a
journalist, an educator, a marketer, and an active member of the community.


               1.      Journalism

       19.     In 2003, my passion for sneakers led me to team up with my friend and fellow
Sneakerhead Steve Mullholand to create Sole Collector Magazine. We wanted to create a
publication that would serve as a platform for Sneakerheads to connect, share their collections,



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and stay up to date on the latest sneaker news and releases. The magazine was published every
other month and I worked on the first nine issues. What set Sole Collector Magazine apart was
its focus on the everyday Sneakerhead; and while we featured celebrities such as basketball
player Lebron James and rapper Eminem, some of our most popular content included interviews
and photo features on non-celebrity Sneakerheads and their collections. Sole Collector Magazine
became recognized as a respectable brand and voice of the Sneakerhead community. The
publication ran in print and then in digital form. It was acquired by Complex, a New York media
and entertainment company focused on American pop culture, in 2013. 11

         20.      In 2007, I created Obsessive Sneaker Disorder – a sneaker lifestyle podcast. It has
been the longest-running sneaker culture talk show and podcast, and it is now a talk show on
YouTube. 12 Famous Sneakerheads and sneaker designers are frequent guests on the show. We
have featured notable guests such as Wilson Smith III – the first Black designer at Nike 13 – and
DJ Clark Kent – the DJ credited with introducing two of the best-known rappers of all time: the
Notorious B.I.G and Jay-Z. 14 Our most popular episode featuring Tinker Hatfield – long-time
designer of various sneakers including multiple editions of Air Jordans – was downloaded over
1.5 million times on iTunes.

         21.      In 2011, I co-founded Future Focus Media Co-op & Youth Training Institute, a
film and photography production company. One of the missions of Future Focus Media is to
train youth in media skills. 15 While the content of the curriculum is not centered around
sneakers, my students are often curious about my experience as a Sneakerhead, and we discuss
styles, designs, and careers as related to sneakers.


11
     Complex, “Complex,” https://www.complex.com; Business Insider, “How This Guy Turned His Shoe
     Obsession Into a Prime Acquisition Target,” March 14, 2013, https://www.businessinsider.com/complex-media-
     acquires-sole-collector-2013-3.
12
     Apple Podcasts, “OSD-Obsessive Sneaker Disorder,” https://podcasts.apple.com/us/podcast/osd-obsessive-
     sneaker-disorder/id1477392109; See also Dee Wells, “OSD: Obsessive Sneaker Disorder,”
     https://www.youtube.com/@OSDLive/videos.
13
     Nice Kicks, “Nike Designer Wilson Smith III Awarded Oregon College of Design’s Highest Honor,” June 10,
     2018, https://www.nicekicks.com/nike-designer-wilson-smith-iii-awarded-oregon-college-of-designs-highest-
     honor (“Hired at Nike in 1983, [Wilson] Smith [III] became the company’s first African American footwear
     designer.”).
14
     djvlad, “Clark Kent on Introducing Biggie to Jay Z, Biggie Best Rapper but Jay Z Best MC,” 2017,
     https://www.youtube.com/watch?v=nvGTfYteWlg.
15
     Future Focus Media, “Main page,” https://futurefocusmedia.org.



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                  2.       Sneaker showcases and launches

         22.      The success of Sole Collector Magazine led the founders, Steve Mullholand,
Nicole Fesette, Alex Wang, and myself, to create a series of sneaker showcase and launch events
with Nike in 2005 and 2006. 16 These events took place in cities such as Chicago, Miami, New
York, Boston, and Las Vegas, and featured the release of limited-edition sneakers into the
market. Some of the limited-edition sneakers were inspired by the city in which they were
launched, for instance, a Yankee-themed sneaker for New York and an alligator-inspired sneaker
for Miami. The events gave Sneakerheads from around the world a chance to buy, sell, and trade
sneakers, as well as to connect with other members of the sneaker community.

         23.      The products released were designed in collaboration with Nike and were highly
coveted by the Sneakerhead community – often selling out within minutes of their release.
Sneakerheads lined up for days for their chance to buy a pair of these coveted sneakers, which
drew attention to these events and further created hype.


                  3.       Educator

         24.      In 2011, I created SOLEcial Studies, a pop-up program of workshops intended to
teach people about the athletic footwear business and empower minorities and women to seek
careers in the sneaker industry.

         25.      The mission of SOLEcial Studies is to (1) “raise the awareness and standards of
what a sneaker lover considers a ‘quality’ sneaker worth the price they are asking,” (2) “get
students to think about creating their own business related to the sneaker industry,” and (3)
“teach sneaker lovers about the various jobs that exist within the corporate structure of the
sneaker business.” 17

         26.      I have worked with individuals ranging from elementary school students to
working professionals as part of SOLEcial studies. Our program has reached participants across


16
     HypeBeast, “Nike ‘Sole Collector Las Vegas’ Dunk High,” July 31, 2006, https://hypebeast.com/2006/7/nike-
     sole-collector-las-vegas-dunk-high (“The Sole Collector event that took place in Las Vegas was the finale of the
     Sole Collector competitions of this year. For this final event, Sole Collector collaborated with Nike to produce
     400 pairs of these exclusive event-only Dunk Highs.”).
17
     Tumblr, “SOLEcial Studies,” https://solecialstudies.tumblr.com.



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the United States, as well as abroad in France and Germany. In April 2023 we launched a 36-
hour intensive SOLEcial studies course, “Rubber, Leather, and Luxury” for 40 students at HEC
Paris, a top-ranking French business school. Our curriculum covers topics ranging from the
exploration of careers in sneaker design and manufacturing, to the role sneakers play in fashion,
art, and culture, to the impact of counterfeits in the sneaker market.

         27.      Each Sneakerhead is different. I believe people should celebrate and express their
uniqueness through the sneakers that they buy and wear, rather than following the crowds. In
other words, sneakers can act as a form of storytelling or expression. Through the SOLEcial
Studies program, I teach people to identify what exactly draws them to specific sneaker models
and silhouettes. For example, I personally focus on versatility and comfort when choosing what
sneakers to buy and wear. I also look for sneakers that have unique designs, colors, or materials,
or tell an important story. The Air Jordan 2 sneakers released by the “Two18” shoe boutique in
Detroit are a great example of the importance of storytelling through sneakers; they pay homage
to the city of Detroit and raise awareness of the water crisis in Flint, MI, an important and
ongoing issue. 18


                  4.      Consulting for sneaker companies

         28.      Under the umbrella of my brand marketing company Obsessive Sneaker Disorder,
which shares a name with my podcast, I have provided marketing consulting services for
multiple sneaker companies, including Nike, adidas, New Balance, and Saucony. I have helped
these brands with advertising campaigns marketing specific sneaker models; this involves
formulating a narrative around their product, selecting fonts and styles in the campaign,
identifying how the product will meet consumer needs, and determining how to tell the overall
story, amongst other responsibilities.

         29.      For instance, as part of my work for adidas, I directed, shot, and produced a video
marketing campaign to spread awareness of adidas’ partnership with the Make-a-Wish
foundation and Make-a-Wish participant Tunav Nanda to design limited-edition sneakers


18
     See, for example, WXYZ Detroit, “Detroit-inspired Two 18 Air Jordans to be released online Friday,” October
     18, 2022, https://www.wxyz.com/news/detroit-inspired-two-18-air-jordans-to-be-released-online-friday
     (“Another feature – the sole – goes from brown to clear representing the Flint Water Crisis.”).



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representing his fight against cancer. 19 I was also involved in the design process for these
sneakers, which were then sold to raise money for the foundation.


                 5.       Museum contributor and curator

         30.     Sneakers from my own collection have been displayed in museums on different
occasions. For instance, I was a co-curator of the Brooklyn Museum’s “Rise of Sneaker Culture”
exhibit in 2015; six pairs of my collection were displayed alongside sneakers from other private
collectors and manufacturers in the exhibit. 20 Additionally, I selected six pairs of sneakers of
cultural and historical significance that are now on display as part of the “From the Feet Up – 50
Years of Beats & Sneaks” exhibition at the Mana Contemporary Museum in Jersey City, New
Jersey, which opened on April 12, 2023. 21 The exhibit is curated by Sean Williams, who is
involved both with the Obsessive Sneaker Disorder podcast and the SOLEcial Studies program.
The exhibit will travel to Chicago and Miami later this year.


                 6.       An engaged member of the Sneakerhead community

         31.     Aside from my professional and educational activities related to sneakers, I am
also actively engaged with Sneakerheads socially and am a regular contributor to the
Sneakerhead community.

         32.     Online discussion boards, and more recently, social media platforms are central to
Sneakerhead community building. Platforms like Twitter, Instagram, TikTok, Snapchat, and
even LinkedIn play a central role in sneaker culture by connecting Sneakerheads and increasing
interest in and communication about news relevant to our community. I started using online
discussion boards in 2001 and I am a member of numerous sneaker-related Facebook groups,



19
     Pensole Lewis College, “Tunav’s Wish To Help Others,” 2019,
     https://www.youtube.com/watch?v=QP6re5hFB8Y&ab_channel=PensoleLewisCollege. See also High
     Snobiety, “These Special adidas Kicks Are Being Auctioned By Charity Make-A-Wish,”
     https://www.highsnobiety.com/p/pensole-make-a-wish-adidas-sneaker-auction.
20
     Sneakerhistory.com, “‘The Rise of Sneaker Culture’ Exhibit at the Brooklyn Museum,” July 5, 2015,
     https://sneakerhistory.com/2015/07/05/rise-sneaker-culture-exhibit-brooklyn-museum.
21
     Mana Contemporary, “From the Feet up – 50 Years of Beats & Sneaks,”
     https://www.manacontemporary.com/exhibition/from-the-feet-up-50-years-of-beats-sneaks.



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such as OSD-Obsessive Sneaker Disorder (over 2,000 active community members) and Size 13-
15 Sneaker Marketplace (with over 11,000 active members), as well as reddit channels.

         33.     I follow multiple notable Sneakerheads on social media and have my own
accounts which I use to like and comment on posts and message other Sneakerheads to discuss
our mutual passions. I use these platforms to do research and stay up to date on latest trends. I
estimate that I spend more than 10 hours a week on these platforms, reading, posting comments,
and sharing information.

         34.     I also have shared my opinions and knowledge of the sneaker world through
traditional media outlets, including through a 2007 interview with ESPN and a 2020 interview
with Mr. Porter, the men’s style journal. 22

         35.     In addition, I participate in in-person events, or “meetups,” where I meet
individuals that I initially encountered on Sneakerhead message boards and websites. These
meetups are often informal opportunities to share my love of sneakers and learn from fellow
aficionados. We discuss our personal styles, collections, and recent buys, as well as tips on how
to keep track of our collections, and we get to know each other on a personal level. I typically
attend these types of events six to eight times a year. I have made many lifelong friends through
the Sneakerhead community.

         36.     I also participate in larger formal conventions, also known as “sneaker cons,”
where Sneakerheads and brands gather to display, view, and trade rare sneakers. Collectors and
vendors set up rows of booths, and there are attractions such as a live DJ, skateshows, and
giveaways. At Houston’s H-Town Sneaker Summit, I met and became friends with the
organizers and fellow Sneakerheads Bryan Angelle, rapper Bun B, and DJ Oakcliff. While the
attendance at many sneaker cons was originally limited, their size has dramatically increased
over the years. For example, the H-Town Sneaker Summit started as 20 people meeting at a bar
in 2004, and now brings in around 5,000 attendees. 23 I have also attended Sneaker Con in New

22
     Rice Sport Management, “Starbury shoes for $14.98,” 2011, https://www.youtube.com/watch?v=o0m6KLiq2o8
     (see interview at 6:21-7:11); Mr Porter, “Meet the Man Who Thinks Sneakers Can Change the World,” August
     17, 2020, https://www.mrporter.com/en-us/journal/fashion/sneakers-social-change-dejongh-dee-wells-
     interview-2020-1349496.
23
     VoyageHouston, “Meet Bryan Angelle of Sneaker Sumit in Upper Kirby,” May 31, 2017,
     http://voyagehouston.com/interview/meet-bryan-angelle-sneaker-summit-upper-kirby (“Over the years we grew



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York City at the Javits Center, a massive venue where around 20,000 Sneakerheads gather each
year. 24 In addition, I have helped create sneaker cons, such as the New England sneaker summit
in Worcester, Massachusetts, which grew from less than 40 to over 300 attendees over a few
years.

         37.      The creation of conventions was a pivotal moment for the sneaker subculture.
Conventions helped bring together like-minded individuals who shared a love for sneakers, and
they created a sense of community around the passion for sneakers. They also helped establish
sneaker culture as a legitimate and respected part of the fashion industry; conventions brought
visibility and media attention to the industry, 25 and they highlighted the range of designs, styles,
materials, and craftsmanship that designers and brands within the industry. Finally, sneaker cons
also created trusted marketplaces for trading sneakers, where the latest and most sought out
models could be found. 26


                  7.       Recognition

         38.      In February 2021, I was awarded the key to the City of Worcester, Massachusetts,
for outstanding work with youth through the Future Focus Media Co-op and Youth Training




     our Sneaker Summit event from a dozen or so people in a coffee shop to sports bars to 5,000 attendees”);
     Sneaker Summit, “About,” https://sneakersummit.com/about (“Established in January of 2004 […] From its
     humble beginnings in local Houston, TX sports bars, Sneaker Summit quickly grew to become the world’s
     largest community based sneaker event.”).
24
     Yahoo, “20,000 People Traded More Than $3 Million in Sneakers Last Weekend,” November 11, 2016,
     https://finance.yahoo.com/news/20000-people-traded-more-than-3-million-in-sneakers-last-weekend-
     214020620.html (“More than 20,000 sneaker heads descended on Sneaker Con November 5-6 at the Jacob
     Javits Center in New York City.”).
25
     See, for example, Joanna Nikas, “Peak Sneaker: Inside Sneaker Con,” The New York Times, January 4, 2018,
     https://www.nytimes.com/2018/01/04/insider/peak-sneaker-inside-sneaker-con.html.
26
     See, for example, InsideHook, “How to Hack Sneaker Con, the World’s Greatest Sneaker Convention,”
     September 5, 2019, https://www.insidehook.com/article/style-washington-dc/sneaker-con-dc-is-the-worlds-
     greatest-sneaker-convention (“‘Every single month there’s always something new and special to look forward
     to, and at Sneaker Con you’ll always find the latest. This week they’re dropping the Supreme x Nike Dunk
     Lows and they’re going to sell out for sure. The Jordan 1s that just dropped sold out and a lot of people weren’t
     able to get them. The best way to get them now is at Sneaker Con,’ says Vinogradov.”); The Manual, “How
     Sneaker Con Provides a Trusted Marketplace for Sneakerheads Everywhere,” August 2, 2018,
     https://www.themanual.com/fashion/sneaker-con-dates-app; NBCFDW, “Sneaker Con in Dallas is Big Business
     for Buyers, Sellers, and Collectors,” May 21, 2021, https://www.nbcdfw.com/news/local/sneaker-con-in-dallas-
     is-big-business-for-buyers-sellers-and-collectors/2638920.



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Institute and for representing sneaker culture through my brand marketing company Obsessive
Sneaker Disorder. 27


III.       OVERVIEW OF SNEAKERHEAD CULTURE

           A.       Who is a Sneakerhead?

           39.      A Sneakerhead is a person who has a deep passion for buying, collecting, trading,
and/or learning about sneakers. Sneakerheads typically “collect, trade, and admire sneakers as a
hobby.” 28 Sneakers bring diverse groups of people together through a shared interest. Through
my years of professional and personal experience engaging with the Sneakerhead community, I
have learned that Sneakerheads are individuals of all ages, races, and nationalities. Most
Sneakerheads I have interacted with are deeply invested in the history of sneakers and feel part
of, and connected to, the community of individuals who share their passion. They tend to view
sneakers as exciting, important, and worthy of time, research, and financial investment. I
personally identify as a Sneakerhead; I view sneakers as wearable and collectible pieces of art.

           40.      In my experience, Sneakerheads generally have a deep appreciation of the history
and significance of sneakers in sports and fashion. Sneakerheads often engage with the history,
the design, the craftsmanship, and the culture behind the individual editions and releases of
various sneaker models. 29 Sneaker releases were events to be anticipated, lined up for, and


27
       The St. Thomas Source, “St. John’s Dee Wells Wins Key to the city of Worcester,” February 17, 2021,
       https://stthomassource.com/content/2021/02/17/st-johns-dee-wells-wins-key-to-the-city-of-worcester (“On Feb.
       2, Worcester Mayor Joseph Petty awarded Wells with the key to the city for two of his achievements:
       establishing Future Focus Media, an organization which among other things teaches videography to young
       people, and for representing sneaker culture through his brand marketing company Obsessive Sneaker
       Disorder.”).
28
       Jin Woo Choi, “Sneakerheads’ Assessment of Sneaker Value and Behaviors Throughout the Sneaker
       Ownership Cycle,” PhD Dissertation, 2017, p. 12 (“A sneakerhead is described as “a person who collects,
       trades or admires sneakers as a hobby.”).
29
       See, for example, Delisia Matthews, Qiana Cryer-Coupet, and Nimet Degirmencioglu, “I Wear, Therefore I am:
       Investigating Sneakerhead Culture, Social Identity, amd Brand Preference Among Men,” Fashion and Textiles,
       Vol. 8, No. 1, 2021, pp. 1-13 pp. 2, 6, 9, 10 (“As mentioned, one keen characteristic of a Sneakerhead is their
       knowledge about the origins and history of sneakers.”), (Referring to two of the Sneakerheads interviewed for
       this research study the article states “Similar to Jason, Elijah also made reference to the different look or
       aesthetic of sneakers that sparked his interest.”), (One of the participants, Eric, is quoted as saying “You know
       we’re here to talk about sports, we talk about sneaker history, certain [sneaker] releases that came out, and what
       people are wearing.”), (“Given this, the True Sneakerhead is embodied by the norm of understanding sneaker
       history, and possesses a true love for the culture.”).



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celebrated. 30 Many Sneakerheads also have emotional connections to specific brands or
celebrities who wear the sneakers, such as athletes like Dr. J, 31 Michael Jordan, 32 Charles
Barkley, 33 and Andre Agassi, 34 who gave rise to Sneakerhead culture through how they played
their game and the sneakers they wore.

         41.       Many Sneakerheads like myself are lifelong learners who continue to seek
information about new products and trends. It is clear both through the Sneakerheads I know and
the many Sneakerhead-focused publications I have read, that sneakers typically transcend mere
footwear for Sneakerheads; they are investments that require careful consideration of, and
research into, the characteristics and origins of different sneaker models before making a
purchase decision. 35 For example, a Sneakerhead might think about which sneakers would be the
best additions to their collection, which sneaker is or will be perceived as trendy, and which
sneaker has strong investment value.


30
     See, for example, Gravitas Free Documentaries, “Sneakerheadz,” 2022,
     https://www.youtube.com/watch?v=AawIhU3ORK0&ab_channel=GravitasFREEDOCUMENTARIES, 32:43 –
     32:59 (The 2005 release of the “pigeon dunk” designed by Jeff Staple is one of the most remarkable testaments
     to the influence of Sneakerheads’ celebration. As crowds lined up at Reed Space, Jeff’s Lower East Side store,
     police were called to maintain order and ensure buyers’ safety.).
31
     Nba.com, “Legends Profile: Julius Erving,” September 13, 2021, https://www nba.com/news/history-nba-
     legend-julius-erving (Julius Erving, commonly known as “Dr. J,” is a former professional basketball player and
     Hall of Famer. “Erving was one of the first players to make extemporaneous individual expression an integral
     part of the game, setting the style of play that would prevail in the decades to follow.”).
32
     Nba.com, “Legends Profile: Michael Jordan,” September 14, 2021, https://www nba.com/news/history-nba-
     legend-michael-jordan (Michael Jordan is “[b]y acclamation, […] the greatest basketball player of all time.” He
     won 6 NBA championships, 6 NBA finals MVP, and was a 14-time NBA All-Star during his career.).
33
     Naismith Memorial Basketball Hall of Fame, “Charles Barkley,” https://www hoophall.com/hall-of-
     famers/charles-barkley (Charles Barkley is a retired American professional basketball who is “one of only four
     players to record more than 20,000 points, 10,000 rebounds, and 4,000 assists in a career.”).
34
     Biography, “Andre Agassi,” https://www.biography.com/athlete/andre-agassi (Andre Agassi is a retired, former
     top-ranked American tennis player. He won numerous Grand Slam singles titles in his career and was inducted
     into the International Tennis Hall of Fame in 2011).
35
     This is based on my experience within the Sneakerhead community. See also, for example, Jin Woo Choi,
     “Sneakerheads’ Assessment of Sneaker Value and Behaviors Throughout the Sneaker Ownership Cycle,” PhD
     Dissertation, 2017, p. 103 (“Knowledge gained from the ongoing search for sneaker information was
     supplemented by a more targeted information search when interviewees were actually considering the purchase
     of a specific sneaker model for resale. Interviewees sought out information about release dates and locations, as
     well as information about for how much they could resell the sneakers.”); Wharton, “A ‘Sneakerhead’ Shares
     His Simple Strategy: Buy Low and Sell High,” August 17, 2016,
     https://globalyouth.wharton.upenn.edu/articles/business/sneakerheads-simple-strategy-buy-low-sell-high (“In
     this market, knowledge of when and where the [sneaker] release is going to happen is key. I leverage my
     network to know. Although the timing of selling is important, it is buying the right models at the right times that
     is critical.”).



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         B.       Evolution of the Sneakerhead movement

         42.      To understand Sneakerhead culture as it exists today, it is important to review its
origins and development over the last 50 plus years.


                  1.       1970s: The origins of Sneakerhead culture in New York City

         43.      The first “stage” of Sneakerhead culture started during the 1970s in marginalized
neighborhoods of New York City. 36 Sneakers were part of an “underground” culture that
gathered around the emergence of hip-hop and rap music. 37 Indeed, hip-hop has been not only a
music genre, but also a culture, one that included “streetwear” and, by extension, sneakers as an
expression of style and identity. 38 Sneakers – as a part of hip-hop culture – started to become
“objects of desire” to own. 39

         44.      Sneakers were popular among rappers and their fans. Sneakers were an integral
part of the hip-hop dress code that signaled belonging to a community. 40 This group mostly

36
     See, for example, Sneaker Jagers, “Sneakers and their Subculture - The Three Stage History,” March 13, 2021,
     https://www.sneakerjagers.com/en/n/sneakers-and-their-subculture-the-three-stage-history/19260.
37
     See, for example, East Bay Express, “Sneakerhead Patrick Cheung has dropped up to $15,000 on athletic shoes,
     most of which he’ll never wear. There are tens of thousands of people just like him,” February 9, 2005,
     https://eastbayexpress.com/sneakerhead-1/ (“The shoes continued their climb through the ’60s and into the ’70s,
     when a kind of underground sneaker culture arose on the streets.”); Sneaker Jagers, “Sneakers and Their
     Subculture – the Three Stage History,” March 13, 2021, www.sneakerjagers.com/en/n/sneakers-and-their-
     subculture-the-three-stage-history/19260 (“Hip-hop culture was anti-mainstream and it thus offered a new space
     for this subculture.”).
38
     See, for example, Weelunk, “Hip Hop: It’s a Culture — Not Just a Music Genre,” Feburary 1, 2019,
     https://weelunk.com/hip-hop-its-a-culture-not-just-a-music-genre (“Hip Hop: It’s a Culture — Not Just a Music
     Genre”). He Spoke Style, “The Evolution of Hip Hop Fashion,” Februrary 25, 2022,
     https://hespokestyle.com/hip-hop-fashion (“The origins of hip-hop go back to the 1970s, and the fashion
     reflected streetwear that kids in the Bronx already had in their possession, like bomber jackets, tracksuits, and
     sneakers with oversized shoe laces.”); Get Laced Laces, “Sneaker Culture & Fashion,”
     https://getlacedlaces.com/blogs/news/sneaker-culture-fashion (“It wasn’t until the 1970s that sneakers truly
     began to make an impact on street fashion. The emergence of hip-hop culture in the Bronx, New York, saw
     sneaker brands like [a]didas, Puma, and Nike become popular among young people as a symbol of their identity
     and style.”).
39
     See, for example, Sneaker Jagers, “Sneakers and their Subculture - The Three Stage History,” March 13, 2021,
     https://www.sneakerjagers.com/en/n/sneakers-and-their-subculture-the-three-stage-history/19260 (“[I]t was hip-
     hop culture that turned them into objects of desire”).
40
     See, for example, Fashion & Power, “American Hip Hop Style 1970-1980,” March 15, 2011,
     http://fashionandpower.blogspot.com/2011/03/american-hip-hop-style-1970-1980 html (“Typically, hip-hop
     artists of the time wore tracksuits, bomber jackets, large glasses, Kangol bucket hats and shelltoe sneakers with
     oversized laces or no laces at all.”). Dub-Stuy, “Sound System Style & Fashion,” http://www.dub-



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included marginalized youngsters who saw hip-hop culture as an “anti-mainstream” lifestyle that
offered a “creative outlet” to deal with economic hardship. 41


                  2.        1980s-90s: The expansion of Sneakerhead culture

         45.      The “second phase” of Sneakerhead culture started with Michael Jordan wearing
the Nike Air Ship in 1984, which served as the inspiration for the Air Jordan 1, which was
released to the market in 1985. 42 Michael Jordan’s endorsement of what became his signature
sneakers proved to be a watershed moment in the development of the Sneakerhead culture that
found “its way more and more into the general public,” by transcending cultural boundaries that
existed during the 1970s. 43 The release of the Air Jordan was deemed a “turning point” in the
Sneakerhead culture, and sneakers’ appeal became broader. 44


     stuy.com/soundboy-style-fashion (“Effectively since their start, alternative music cultures and fashion have
     been firmly intertwined. From the Converse’s and Doc Martin’s of punk rock to the importance of [a]didas
     shoes and Timberland boots within hip-hop, footwear in particular has held an outsized role within both lyrics
     and culture. At the heart of this is the desire to simultaneously express both individuality and ones belonging to
     a community; showing off style and status yet also striking a balance between the fun and the serious.”).
41
     See, for example, Sneaker Jagers, “Sneakers and their Subculture - The Three Stage History,” March 13, 2021,
     https://www.sneakerjagers.com/en/n/sneakers-and-their-subculture-the-three-stage-history/19260 (“Hip-hop
     culture was anti-mainstream and it thus offered a new space for this subculture.”) Prepscholar, “The Complete
     History of Hip Hop,” Feburary 13, 2021, https://blog.prepscholar.com/hip-hop-history-timeline (“Faced with a
     lack of economic opportunity, as well as rising crime and poverty rates, the young people in the Bronx and
     nearby communities began creating their own kinds of cultural expressions. These forms of expression would
     come together to form the four pillars of hip hop.”) (Emphasis removed); Icon Collective, “Hip Hop History:
     From The Streets to The Mainstream,” April 11, 2023, https://iconcollective.edu/hip-hop-history (“A new era
     was on the rise fueled by sentiments of anger, hardship, and abandonment. However, the emerging hip hop
     movement transformed despair and racial barriers into numerous creative outlets.”).
42
     See, for example, Sneaker Jagers, “Sneakers and their Subculture - The Three Stage History,” March 13, 2021,
     https://www.sneakerjagers.com/en/n/sneakers-and-their-subculture-the-three-stage-history/19260 (“The second
     phase also began with the release of the Nike Air Jordan 1 in 1985 […] In 1984, MJ wore his own sneakers on
     the basketball court for the first time.”); Gear Patrol, “Nike Air Ship: The Original Air Jordan 1, Explained,”
     April 3, 2023, https://www.gearpatrol.com/style/shoes-boots/a43386949/nike-air-ship-explained (“When
     Michael Jordan made his NBA debut on October 26, 1984, the budding basketball legend wore a pair of white
     and red sneakers. […] Jordan wore a pair of shoes dubbed the Nike Air Ship, at least for the first half of the
     season. He opted for a Nike model that was already made, but would serve, along with the now famous Air
     Force 1, which debuted in 1982, as inspiration for Jordan’s eponymous high-top, which debuted in 1985.”).
43
     See, for example, Sneaker Jagers, “Sneakers and their Subculture - The Three Stage History,” March 13, 2021,
     https://www.sneakerjagers.com/en/n/sneakers-and-their-subculture-the-three-stage-history/19260 (“As we move
     from stage one to stage two, we see that the sneaker subculture is finding its way more and more into the
     general public - the popularity is increasing.”).
44
     See, for example, Get Laced Laces, “Sneaker Culture & Fashion,”
     https://getlacedlaces.com/blogs/news/sneaker-culture-fashion. (“The release of the Air Jordan 1 in 1985,
     designed for basketball player Michael Jordan, marked a turning point in sneaker culture.”).



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         46.      Air Jordans also contributed to sneakers becoming collectibles. Due to the lasting
commercial success of the Air Jordans, Nike “continued to release new Air Jordan models each
year, and each one was eagerly anticipated by Sneakerheads and basketball fans alike.” The
model of releasing new versions of Air Jordans each year made each release a special iteration of
the sneaker, and made obtaining these scarce shoes something that a Sneakerhead could flaunt as
a source of pride. People started “lining up for hours” and “camping out overnight” to avoid
missing out on Air Jordan releases and paying prices “many times their retail value” to obtain a
pair in resale markets.” 45

         47.      Around the same time that Air Jordans took off and through the early 1990s, hip-
hop culture spread beyond New York City across the United States, gradually becoming
mainstream. 46 The 1990s are described as a “golden era for hip hop, with the genre flourishing
and diversifying.” 47 By the late 1990s, hip-hop became the “top-selling music genre.” 48

         48.      Sneakers continued to be ingrained in hip-hop culture, and experienced similar
mainstream success. An example of how the success of hip-hop culture and sneakers went hand-
in-hand is provided by the partnership between hip-hop group Run-DMC and adidas – the first
non-athlete endorsement that “paved the way for the [type of] sponsorships and partnerships we
see today.” 49 In 1986, Run-DMC released their most famous song, “My Adidas” referring to the

45
     Medium, “Michael Jordan’s Impact on Sneaker Culture,” February 20, 2023,
     https://medium.datadriveninvestor.com/michael-jordans-impact-on-sneaker-culture-b68b4a1b7c73 (“The Air
     Jordan 1 was a huge success, but it was only the beginning. Nike continued to release new Air Jordan models
     each year, and each one was eagerly anticipated by sneakerheads and basketball fans alike. The Air Jordan line
     became a cultural phenomenon, with people lining up for hours to buy new releases and some even camping out
     overnight. The shoes were so popular that they were often resold at prices many times their retail value.”).
46
     See, for example, Icon Collective, “Hip Hop History: From The Streets to The Mainstream,” April 11, 2023,
     https://iconcollective.edu/hip-hop-history (“During the mid 1980s and early 1990s, hip hop spread across the
     country in full force. It brought an era that significantly transformed hip hop culture. This new era became
     known as ‘the golden age of hip hop.’ Many characterize this turning point by its explosion of diversity,
     influence, stylistic innovation, and mainstream success.”).
47
     History of Hiphop, “1990’s,” https://historyofthehiphop.wordpress.com/history/1990s (“Hip-hop became a best
     selling music genre in the mid-1990s and the top selling music genre by 1999 with 81 million CDs sold.”).
48
     Icon Collective, “Hip Hop History: From The Streets to The Mainstream,” April 11, 2023,
     https://iconcollective.edu/hip-hop-history (“Hip hop music became even more commercial, becoming the top-
     selling music genre by the late 1990s.”).
49
     Rolling Stone, “Into the Footprints Of the Shoe that Changed Hip-Hop Culture,” March 5, 2020,
     https://rollingstoneindia.com/into-the-footprints-of-the-shoe-that-changed-hip-hop-culture (“Their collaboration
     with adidas also went down in history as the brand’s very first non-athlete endorsement (other sporting brands
     soon followed suit).”); Shoe Palace, “The History of Run DMC & adidas,” October 5, 2022,



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adidas Superstar sneakers. 50 This song is described as a “genuine […] love letter to adidas” and a
“tribute to sneaker culture” and predated any promise of a deal or sponsorship with adidas. 51
However, the success of the song and increased sneaker sales soon captured the attention of
adidas, which entered into a partnership with Run-DMC. 52 Despite considering the Superstar
“dead” prior to the release of “My Adidas,” adidas’ marketing director later attributed the style’s
revived sales to Run-DMC. 53 adidas Superstars appealed to consumers beyond their original
athletic uses, and became part of “streetwear as a conduit of cultural expression.” 54 As part of the




     www.shoepalace.com/blogs/all/the-history-of-run-dmc-adidas-1 (“But you can easily make the case that RUN
     DMC & adidas paved the way for the sponsorships and partnerships we see today.”).
50
     See, for example, Rolling Stone, “Into the Footprints Of the Shoe that Changed Hip-Hop Culture,” March 5,
     2020, https://rollingstoneindia.com/into-the-footprints-of-the-shoe-that-changed-hip-hop-culture (“In 1986,
     Run-DMC released their landmark track ‘My [A]didas.’”).
51
     See, for example, Shoe Palace, “The History of Run DMC & adidas,” October 5, 2022,
     www.shoepalace.com/blogs/all/the-history-of-run-dmc-adidas-1 (“The love RUN DMC had for adidas was
     authentic and started out with no promises of money. The RUN DMC crew grew up wearing adidas. It was their
     favorite brand. They did not sign an endorsement deal, and then all the sudden fall in love with the three stripes.
     The group wore the adidas Superstar religiously and genuinely. […] The song was created by RUN DMC as a
     love letter to adidas.”); Rolling Stone, “Into the Footprints Of the Shoe that Changed Hip-Hop Culture,” March
     5, 2020, https://rollingstoneindia.com/into-the-footprints-of-the-shoe-that-changed-hip-hop-culture (“It was a
     tribute to sneaker culture […]”).
52
     See, for example, One37PM, “The History and Legacy of the Run-DMC adidas Partnership,” January 20, 2023,
     www.one37pm.com/style/run-dmc-adidas-partnership (“Well, you’d have to imagine that a hit song causing a
     lot of conversation called “My Adidas” would eventually capture the attention of adidas executives. And that’s
     exactly what the track did. Not only that, but the success of “My Adidas” was in turn resulting in more sales for
     the company, with many wanting to mimic the group’s way of pairing the adidas Superstar with its respective
     track suits. […] Run-DMC partnered with adidas […]”); Sneaker Breaker, “Run DMC adidas : All You Need to
     Know About the Partnership,” https://sneakerbreaker.com/run-dmc-adidas-all-you-need-to-know-about-the-
     partnership (“Shortly after the “My [A]didas” single came out, adidas noticed that their sales began to go up,
     but they didn’t know why. They began doing their research and found out that one of the main reasons their
     sales began to skyrocket was because of Run-D.M.C. and their love for adidas footwear.”).
53
     See, for example, High Snobiety, “A Very Brief History of the adidas Superstar, Continued,” 2016,
     www highsnobiety.com/p/history-adidas-superstar-continued-finish-line (“As Angelo Anastasio, adidas’
     marketing director between 1984 and 1991 claims in the ‘Just for Kicks’ sneakers doc, in the early ‘80s, ‘the
     Superstar was dead. But Run DMC singlehandedly brought that shoe back.”’).
54
     Rolling Stone, “Into the Footprints Of the Shoe that Changed Hip-Hop Culture,” March 5, 2020,
     https://rollingstoneindia.com/into-the-footprints-of-the-shoe-that-changed-hip-hop-culture.



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cultural expression, many consumers customized the look of their Superstars, 55 for instance by
imitating Run-DMC’s removal of the laces. 56

         49.       During this time, sneakers became embedded in fashion and popular culture,
prominently worn not only by numerous figures of hip-hop, but also by stars of other genres,
including alternative rock band Nirvana’s Kurt Cobain, who regularly wore All Star Converse. 57
Sneakers became an integral part of the growing “streetwear” industry, 58 and appeared in, and
were marketed through, commercial films among other means. 59

         50.       The 1990s also saw the birth of a community that wanted to wear the “freshest,”
hardest to find sneakers. 60 As Sneakerhead culture expanded widely, this community wanted to
differentiate itself from others who wear sneakers. This is when sneaker brands introduced the




55
     See, for example, Rolling Stone, “Into the Footprints Of the Shoe that Changed Hip-Hop Culture,” March 5,
     2020, https://rollingstoneindia.com/into-the-footprints-of-the-shoe-that-changed-hip-hop-culture (“Run-DMC’s
     flouting of sartorial rules also led people to customize their own Superstars as they fit the streets to their feet.”).
56
     See, for example, L’Officiel, “8 Sneaker Trends That Started With Hip Hip,” August 18, 2022,
     www.lofficielusa.com/fashion/hip-hop-most-iconic-shoes-adidas-nike-airjordan-clarks (“Run DMC would wear
     all [a]didas tracksuits and Superstars without laces during their performances. As their look became more
     popular and attracted more customers to [a]didas, the sportswear company sponsored Run DMC.”); Shoe
     Palace, “The History of Run DMC & adidas,” October 5, 2022, www.shoepalace.com/blogs/all/the-history-of-
     run-dmc-adidas-1 (“The iconic hip hop trio wore the adidas Superstar with the laces removed. This was a touch
     that people everywhere started to emulate.”).
57
     See, for example, The Collector, “A History of Sneakers: How They Became Staples of Modern Fashion,”
     January 26, 2021, www.thecollector.com/evolution-of-sneakers-modern-fashion-collecting (“Converse sneakers
     were starting to be worn by rock and punk artists including Kurt Cobain, Joe Strummer, or Billie Armstrong.”);
     Style Circle, “Why Kurt Cobain is Still a Fashion Icon,” December 1, 2020, https://stylecircle.org/2020/12/why-
     kurt-cobain-is-still-a-fashion-icon (“Whether it was intentional or not, he [Kurt Cobain]was a trendsetter in his
     time; many of his looks have become iconic, and still influential to this day.”); Fast Fashion News, “The
     History of the Iconic Converse Chuck Taylor All-Star Sneaker,” April 24, 2023,
     www fastfashionnews.co.uk/the-history-of-the-iconic-chuck-taylor-sneaker (“Some of us can’t picture Kurt
     Cobain of Nirvana in anything else than the classic black and white high-top version of the shoe [Converse
     Chuck Taylor All Star].”).
58
     See, for example, The Prospector, “Sneakerheads And Their Influence on Fashion,” April 5, 2022,
     https://www.theprospectordaily.com/2022/04/05/sneakerheads-and-their-influence-on-fashion (“As streetwear
     became trendy during the ‘80s so did sneakers.”).
59
     See, for example, The Collector, “A History of Sneakers: How They Became Staples of Modern Fashion,”
     January 26, 2021, www.thecollector.com/evolution-of-sneakers-modern-fashion-collecting (“Some sneakers
     featured in movies became so popular that consumer demand eventually made it possible for real-life versions
     to be sold years later.”).
60
     See, for example, “Sneakerheadz,” 2022, 4:45 – 4:50.



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concept of “Limited Releases” – selling special models of their products in scarce quantities, 61
often featuring a “collab” with a notable figure. 62 Some examples of early collabs and limited
releases include the Nike Air Max CB34 (a collab with pro-basketball player Charles Barkley in
1994), the Nike Air Trainer SC (a collab with two-sport pro athlete Bo Jackson in 1990) and
Nike Air Mowabb (a hybrid running and hiking sneaker produced with limited colorways in
1991), and premium lifestyle versions of King and Easy Rider models (a collab between Puma
and fashion designer Jil Sander). 63 Thus, as Sneakerhead culture became more popular and
widely adopted, the desire to stand out created demand for “fresh” and “unique” sneakers which
were eagerly provided by companies in the form of “limited editions.”


                  3.       2000’s – Present Day: The mass adoption of Sneakerhead culture

         51.      The “third stage” of Sneakerhead culture came with the opportunities to connect
and share experiences that arose from the democratization of the Internet and the development of
smartphones in the 21st century. 64 Advancements in these technologies and globalization
accelerated the trends that started in the second wave, namely wider appeal and popularity of
sneakers, and further increased the importance of sneakers in popular culture relative to the prior
“waves” of Sneakerhead culture. 65


61
     See, for example, Complex, “The Story of How Limited Edition Sneakers Came to Be,” May 27, 2015,
     www.complex.com/sneakers/2015/05/how-limited-edition-sneakers-came-to-be (“Limited sneakers are here to
     stay. Whether it was the Air Jordan 1, XI, Nike’s player exclusives in the early ’90s or the infamous Pigeon riot,
     those moments cracked the ground and shifted the culture.”), (“Attempting to jog his memory, the Pitt native
     finally settled on 1991 as the first year that really set things off from Nike’s POV.”).
62
     See, for example, The Economist, “What is Driving the Proliferation of Counterfeit Sneakers,” 2022,
     https://www.economist.com/films/2022/12/08/what-is-driving-the-proliferation-of-counterfeit-sneakers, 6:30 –
     6:36.
63
     See, for example, GQ, “The 50 Greatest Sneaker Collaborations in Nike History,” August 22, 2022,
     https://www.gq.com/story/nike-50-greatest-sneaker-collaborations; SneakerFiles, “Nike Air Mowabb,”
     https://www.sneakerfiles.com/nike/nike-running/nike-air-mowabb; GOAT, “10 of the Most Influentional
     Sneaker Collaborations of All Time,” https://www.goat.com/editorial/best-sneaker-collaborations-all-time; Fat
     Buddha Store, “The History of Puma,” https://us.fatbuddhastore.com/history-of-puma-i194.
64
     See, for example, Sneaker Jagers, “Sneakers and Their Subculture – the Three Stage History,” March 13, 2021,
     www.sneakerjagers.com/en/n/sneakers-and-their-subculture-the-three-stage-history/19260 (“The third stage
     came mainly with the flood of the Internet as well as the development of smartphones in the 21st century.”).
65
     See, for example, Sneaker Jagers, “Sneakers and Their Subculture – the Three Stage History,” March 13, 2021,
     www.sneakerjagers.com/en/n/sneakers-and-their-subculture-the-three-stage-history/19260 (“In the third stage,
     the trends that started in the second stage were accelerated due to the invention of the Internet and smartphones



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         52.      The Internet made finding and purchasing sneakers more accessible and
convenient; the “hunt” for sneakers moved from physical locations to websites, giving
consumers with Internet the ability to shop from diverse locations, as described in more detail in
Section V.C.

         53.      In addition, discussion boards, and later, social media allowed for the promotion,
discussion of, and connection to sneakers. Sneakerheads took to NikeTalk, Instyleshoes, and
later Instagram, Facebook, Twitter, and YouTube to promote their collections, discuss brands,
and connect with one another. 66 Social media is one of the key ways in which brands generate
hype or demand for their products. 67 Brands can create hype on social media, including through
partnerships with celebrity accounts for new product launches, especially product drops or
limited editions (See Section V.A). For example, when re-releasing the iconic Stan Smith shoe,
adidas Originals launched a Twitter campaign that asked people to submit their photo for the
Stan Smith tongue design with the potential to get their personalized Stan Smith.68 This adidas




     in particular. Globalization and the advancement of new technologies have also increased the worldwide spread
     of sneaker popularity with social media as a communication tool.).
66
     See, for example, Boardroom, “The ‘Cool Grey’ Air Jordan 11: An Oral History,” December 10, 2021,
     https://boardroom.tv/cool-grey-air-jordan-11-sneaker-history (“In 2000, two sneaker sites mattered more than
     any other: NikeTalk and Instyleshoes.”); Social Insider, “Brand Analysis: 5 Key Takeaways From [a]didas’
     Social Media Strategy,” April 15, 2021, https://www.socialinsider.io/blog/adidas-social-media-strategy
     (“[a]didas is one of the most followed sports brands online. It has social media profiles on all major platforms,
     such as Facebook, Instagram, LinkedIn, Twitter, YouTube, TikTok, and Pinterest.”); FootBasket, “The Link
     Between Sneaker Culture & Social Media: 3 Things to Know,” March 31, 2023,
     https://www.footbasket.com/2023/03/the-link-between-sneaker-culture-social.html (“Sneakerheads that use
     social media can find thriving communities online, too. Social media has made sneaker culture more accessible
     as anyone with a Twitter account or Reddit profile can weigh in on the latest trends, collaborations, and
     designs.”).
67
     See, for example, Kelcie Slaton and Sanjukta Pookulangara, “Collaborative Consumption: An Investigation Into
     the Secondary Sneaker Market,” International Journal of Consumer Studies, 2021, p.768 (“The findings from
     the study indicated that during the pre-acquisition stage, when images on social media of sneakers worn by
     celebrities or individuals of a higher status are viewed, sneakerheads activate both emotional and monetary
     value, thus creating hype.”).
68
     See, for example, Complex, “[a]didas is Trying to Take Over the Sneaker World Through Social Media,” July
     25, 2016, https://www.complex.com/sneakers/2016/07/adidas-is-trying-to-take-over-the-sneaker-world-
     through-social-media (“Giving Twitter followers the chance to have their own likeness made up in the green
     and white of the Stan Smith tongue artwork, [adidas Original] made consumers feel as though they were part of
     the story and part of the campaign.”).



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Originals Twitter feed alone picked up 13,000 mentions and over 15,000 new followers
outperforming previous records on both counts. 69

          54.      There are additional ways brands can build hype for a product launch outside of
social media. For instance, in 2022, Nike launched a raffle for the chance to buy the new
“Reverse Mocha” Jordan 1 Low designed by Travis Scott. The raffle drew 2.4 million entries in
its first 30 minutes, ultimately reaching 3.8 million entries, a record for Nike’s SNKRS app. 70
Notably, this was just an entry for the chance to buy a “Reverse Mocha”; winners still had to
purchase the actual sneaker.

          55.      Sneakerhead culture has developed through a combination of consumer demand,
brand marketing, and Internet-fueled hype. The Internet and social media have brought
Sneakerhead culture to center stage and allowed for tremendous growth. Today, there are
countless events, meet-ups, and conventions geared towards connecting Sneakerheads with a
passion for sneakers.


IV.       SNEAKERHEADS’ MOTIVES FOR PURCHASE ARE VARIED

          56.      Sneakers are one of the most commonly purchased types of shoes. A survey taken
in 2021 showed over 50% of the adult population aged between 16 to 50 in the United States
bought sneakers in the past two years. 71 However, my experience with, and engagement of, the
Sneakerhead community has revealed that different reasons typically motivate Sneakerheads to
purchase sneakers. As outlined in additional detail below, Sneakerheads may purchase sneakers
to collect, display, or wear them; as an investment; or to emulate or remember a person or


69
      See, for example, Cargo Collective, “Social Activation - Stan Yourself for adidas Originals,”
      https://cargocollective.com/MattTarr/Social-Activation-Stan-Yourself-for-adidas-Originals (“We processed
      over 24,000 tweets during the five day activation and tweeted nearly 2,000 bespoke tongue graphics to fans.
      During the week of the activation, the adidas Originals twitter feed alone picked up 13,000 mentions and over
      15,000 new followers smashing previous records on both counts.”).
70
      See, for example, Complex, “Travis Scott’s Last Air Jordan Collaboration Set a Nike Record,” September 29,
      2022, https://www.complex.com/sneakers/travis-scott-nike-air-jordan-1-low-reverse-mocha-snkrs-record (“The
      aforementioned ‘Reverse Mocha’ Jordan 1 Low launch on Scott’s website drew 2.4 million entries in a short
      30-minute span, a source confirmed to Complex in July.”).
71
      Statista, “Share of Americans Who Bought Athletic Shoes in the Last 24 Months in 2021, by Generation,”
      March 9, 2022, www.statista.com/statistics/231404/people-who-bought-athletic-shoes-in-the-last-12-months-
      usa (A survey taken in 2021 showed over 50% of the responded population aged between 16 to 50 in the US
      bought sneakers in the past two years).



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movement. Sneakerheads may purchase sneakers for multiple of these reasons at the same time,
and these reasons can change over time.


         A.       To collect

         57.      Sneakerheads often accumulate large collections of sneakers, effectively making
them collectors. Some purchase hundreds or even thousands of pairs of shoes, sometimes losing
track of how many shoes they own. 72 They repurpose entire rooms in their homes to hold their
collections (See rapper DJ Khaled’s sneaker room in Figure 1), or use expansive storage units. 73
Samantha Ronson, a famed English DJ, songwriter, and a sneaker designer herself, houses her
sneaker collection in a storage unit. 74 NFL player Joe Haden also stores 1,200 of his 1,500 pairs
of sneakers in a storage unit. 75




72
     See, for example, “Sneakerheadz,” 2022, 26:32 – 26:37, 26:38 – 26:43, 26:45 – 26:55.
73
     See, for example, “Sneakerheadz,” 2022, 27:32 – 27:52.
74
     “Sneakerheadz,” 2022, 28:16 – 28:25; Sneaker News, “Samantha Ronson x Supra Indy - Distressed Black
     Gold,” August 5, 2009, https://sneakernews.com/2009/08/05/samantha-ronson-x-supra-indy-distressed-black-
     gold/.
75
     Sports Illustrated, “Joe Haden Needs a Storage Unit for His Sneaker Collection,” October 4, 2019,
     https://www.si.com/nfl/2019/10/04/joe-haden-steelers-sneaker-collection-podcast (“I would probably have
     about 300 [pairs of sneakers] at the house and the rest, like 1,200 in a facility… I had a normal-sized storage
     unit but I just kept having to get a bigger storage unit.”).



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                              Figure 1: DJ Khaled’s “Sneaker Kingdom”76




         58.      For some, collecting sneakers provides a sense of belonging to a bigger
community. Elliot Curtis, co-founder of Sneakerology, an online storefront for sneakers, states “I
felt like I was part of a crew. I felt like I was in on a secret.” 77

         59.      While customers purchasing most mass-produced sneakers intend to wear them,
many collectors do not wear their shoes in part because sneakers lose much of their value once
worn. 78 As a result, sneaker collectors often buy two pairs of the same shoes if they also want to




76
     Airbnb, “My Sneaker Kingdom,” https://www.airbnb.com/rooms/717412904757285262.
77
     “Sneakerheadz,” 2022, 9:52 – 9:56.
78
     See, for example, Christie’s, “Collecting Guide: 10 Things to Know About Sneakers,” November 23, 2022,
     www.christies.com/features/sneakers-collecting-guide-12552-3.aspx (“To wear or not to wear … Worn sample
     or limited-production shoes, for example, that are usually $10,000 and up if unused can be purchased for a
     fraction of the price.”). Vessi, “What Does DS Mean In Shoes? Shoe Terminology Explained,”
     https://ca.vessi.com/blogs/the-forecast/what-does-ds-mean-in-shoes-shoe-terminology-explained .(“[Deadstock
     shoes] are brand new and have never been worn, which is why they are often highly sought after by sneaker
     enthusiasts and collectors.”); CNBC, “Inside One of the World’s Largest Sneaker Collections, Worth Millions -
     And it’s Owned by 3 Women,” January 31, 2020, https://www.cnbc.com/2020/01/31/photos-sneaker-collection-
     worth-millions-owned-by-chicks-with-kicks.html (“Inside one of the world’s largest sneaker collections […] a
     vintage pair of 1985 Jordan sneakers […] have never been worn and are kept in the original box. Because of
     this, the Peters sisters say sneaker collectors are willing to pay a premium: ‘We value these at about $10,000’”).



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“trying to emulate their heroes by wearing the same thing they wear.” 83 After Virgil Abloh’s
passing in 2021, the price of Off-White sneakers, designed by Abloh in collaboration with Nike,
spiked on resale platforms and stores. 84 While prices settled in the days following his death, they
generally remained higher than they were when Abloh was alive. 85 This is indicative of the
desire of Sneakerheads to own “a piece” of individuals they look up to; Caitlin Donovan, VP of
streetwear and sneakers at Christie’s, noted, “The idea of not being able to have a part of his
larger impact in fashion I think made people really want to go out and get a piece of it.” 86

         63.      Another way Sneakerheads can get a “piece” of their idols, especially of sports
figures, is by collecting athletes’ worn and/or signed sneakers. For instance, Sotheby’s has an
entire page dedicated to “signed and game-worn sneakers,” featuring sneakers worn and/or
signed by basketball stars like Magic Johnson, Larry Bird, Julius Erving, and Michael Jordan. 87
Preston Truman, an NBA ball boy, was able to connect with Michael Jordan after his infamous




83
     “Sneakerheadz,” 2022, 6:44 – 6:49.
84
     See, for example, Jessica Testa, “Sneaker Sellers Wrestle With Price Spikes After Virgil Abloh’s Death,” The
     New York Times, December 16, 2021, https://www nytimes.com/2021/12/16/style/sneakers-price-spikes-virgil-
     abloh.html (“Tracking the market today, [a Christie’s representative] said the initial frenzy has calmed, but she
     expects resale value to remain strong. (The heightened StockX prices gradually fell in the days after Mr.
     Abloh’s death, though they appear, from listings of recent sales, to be generally higher than when Mr. Abloh
     was alive.) ‘The idea of not being able to have a part of his larger impact in fashion I think made people really
     want to go out and get a piece of it.’”).
85
     See, for example, Jessica Testa, “Sneaker Sellers Wrestle With Price Spikes After Virgil Abloh’s Death,” The
     New York Times, December 16, 2021, https://www nytimes.com/2021/12/16/style/sneakers-price-spikes-virgil-
     abloh.html (“Tracking the market today, [a Christie’s representative] said the initial frenzy has calmed, but she
     expects resale value to remain strong. (The heightened StockX prices gradually fell in the days after Mr.
     Abloh’s death, though they appear, from listings of recent sales, to be generally higher than when Mr. Abloh
     was alive.) ‘The idea of not being able to have a part of his larger impact in fashion I think made people really
     want to go out and get a piece of it.’”).
86
     Jessica Testa, “Sneaker Sellers Wrestle With Price Spikes After Virgil Abloh’s Death,” The New York Times,
     December 16, 2021, https://www nytimes.com/2021/12/16/style/sneakers-price-spikes-virgil-abloh.html.
87
     Sotheby’s, “Signed and Game-Worn Sneakers,” https://www.sothebys.com/en/articles/signed-and-game-worn-
     sneakers.



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“flu game” 88 to get his Air Jordans. Truman held onto the sneakers for over 16 years before
ultimately selling them. 89


         C.       To display as art

         64.      Many Sneakerheads display their collections in their home, with entire closets and
rooms devoted to sneakers. “Complex Closets,” a YouTube series produced by Complex, is
dedicated to featuring the sneaker collections of famous rappers and sneaker collectors. Rapper
Jayceon Terrell Taylor, known as “The Game,” gave Complex Closets a tour of his personally
designed sneaker room, equipped with bullet proof glass displays for some sneaker models and a
custom sneaker clock (See Figure 2).




88
     See, for example, ESPN, “$104,765 for Michael Jordan’s shoes,” December 13, 2013,
     https://www.espn.com/chicago/nba/story/_/id/10124171/michael-jordan-flu-game-shoes-shatter-record-price-
     auction (“‘I have looked at the shoes maybe four times since putting them in a safety deposit box 16 years ago,’
     Truman said. ‘I would go years without even thinking about it. [...] I just didn’t see the point to something so
     cool and a part of NBA history sitting at my bank anymore.’”).
89
     See, for example, Yahoo, “Michael Jordan Once Gifted His Shoes to a Ball Boy. Then, Things Got Really
     Messy,” April 26, 2023, https://www.yahoo.com/lifestyle/michael-jordan-once-gifted-shoes-193200896.html;
     “Sneakerheadz,” 2022, 47:20 – 48:35.



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                            Figure 2: The Game’s Custom Sneaker Clock 90




         65.      Other YouTube channels such as RESHOEVN8R provide similar sneaker
collection deep dives. The channel produced a three-part series around Kenny Gonzales, the
aforementioned founder of “The Perfect Pair,” 91 and his sneaker collection. In addition to
hundreds of pairs of sneakers, the collector owns a pair of game-worn, last-shot Jordan 14s,
autographed by the entire Bulls team. His brother designed a custom case to display the sneakers;
the pair is insured for $1.5 million.92

         66.      In other cases, sneaker collectors may display their collection in more formal
settings, including in art galleries or museums. For instance, in July 2019, an unworn pair of




90
     Complex, “The Game Shows Off his Bulletproof Sneaker Collection on Complex Closets,” May 13, 2019,
     https://www.youtube.com/watch?v=eXCVLjZUn2o.
91
     The Perfect Pair (@the_perfect_pair) is an Instagram account with over 600,000 followers featuring Gonzales’
     personal sneaker collection and artistic displays.
92
     RESHOEVN8R, “The Rarest and Best Sneaker Collection in the World,” 2022,
     https://www.youtube.com/watch?v=_ra50gbXL5w, 14:50 – 16:20.



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Nike “Moon Shoes” was sold by Sotheby’s for $437,500 in an online auction, 93 to a buyer
planning to display the shoes in his private museum in Toronto. 94

         67.      As another example, Virgil Abloh, the Chicago area artist and fashion designer
who passed away in 2021, held sneaker-focused exhibits in art museums across the United
States, including the Museum of Contemporary Art in Chicago, the High Museum of Art in
Atlanta, and the Brooklyn Museum. The exhibits showcased Abloh’s work relating to sneakers,
presented alongside the artist’s other pieces in high fashion, furniture, music, and graphic
design. 95


         D.       To wear to be cool

         68.      Fashion trends can also influence consumers’ sneaker purchase patterns. “Buying
cool” in the Sneakerhead community refers to the practice of buying sneakers based on the
current fashion trends. Wearing these “cool” trends can give wearers street credit and respect and
can give insight into the interests and style preferences of the wearer. For example, Rob Dydek, a
professional skateboarder and sneaker designer, points out that sneakers are one of “a handful of
things that can define who you are without saying a word.” 96


         E.       To purchase as an investment

         69.      Sneakers may provide attractive investment opportunities for purchasers. As
discussed in Section V.A, limited release sneakers are highly sought after and as such, are likely
to retain value over time. 97 For this reason, some consumers seek out limited release sneakers as


93
     See, for example, Boston Herald, “Nike Track Shoes Used in 1972 Olympic Trials Sell for $50G,” August 15,
     2019, www.bostonherald.com/2019/08/15/nike-track-shoes-used-in-1972-olympic-trials-sell-for-50k.
94
     See, for example, Artnews, “Can a Shoe Be a Work of Art?,” January 23, 2020, www.artnews.com/art-
     news/news/sneakers-auction-house-category-1202676047.
95
     High Museum of Art, “Virgil Abloh Fashion, Art and Design Coming to the High in Fall 2019 Exhibition,”
     October 16, 2019, https://high.org/press-release/virgil-abloh-fashion-art-and-design-coming-to-the-high-in-fall-
     2019-exhibition.
96
     “Sneakerheadz,” 2022, 11:00 – 11:07.
97
     See, for example, HuffPost Life, “Investing In Sneakers Can Be A Better Investment Than Gold. Here’s How,”
     October 29, 2018, https://www.huffpost.com/entry/sneakers-good-investment_n_5bd1f5ebe4b0d38b588143ee;
     TD Cowen, “Sneakers as an Alternative Asset Class, Part II,” July 20, 2020,
     http://www.cowen.com/insights/sneakers-as-an-alternative-asset-class-part-ii.



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investment opportunities – either to buy and hold or to immediately sell for profit (to “flip”).
Even vintage mass-market sneakers can serve as a sound investment. For instance, while
Converse sneakers are generally seen as mass-market – the company has sold over 550 million
pairs of sneakers since its founding in 1917, with recent prices of products falling in the $65-
$150 range – certain rare and vintage Converse sneakers are listed at hundreds to thousands of
dollars on resale market sites such as eBay, Etsy, and StockX. 98

         70.      TD Cowen, a financial services firm, describes sneakers as an alternative asset
class. They estimate a projected 20% yearly growth and highlight the valuable characteristic that
sneakers are not correlated with traditional asset classes. 99


V.       DYNAMICS BETWEEN SNEAKER BRANDS AND RESELLERS AND THE
         INTERNET REVOLUTION

         71.      Sneakerheads can purchase sneakers from various sources. They may purchase
them directly from proprietary brands such as Nike or adidas, or from authorized sellers such as
Foot Locker, Kith, Extra Butter, or Bodega. Alternatively, Sneakerheads can purchase product
from resellers, who are generally individuals selling on online platforms such as eBay, Facebook
Marketplace, and StockX.


         A.       Scarcity drives demand

         72.      Brands control the quantity and types of sneakers they release to the public.
Brands release various types of shoes, including both mass-market sneakers and limited releases.
Limited releases are typically only available for only a limited time and in limited quantity,
creating scarcity. In some cases, brands may release as few as 20 pairs of a particular model of


98
     See, for example, Converse, “Converse,” https://www.converse.com; Visually, “The History of Converse,”
     https://visual.ly/community/Infographics/lifestyle/history-converse; StockX, “Converse,”
     https://stockx.com/converse/most-expensive; Etsy, “RARE DEADSTOCK!!! Vintage 1970’s Converse The
     Winner High Top Sneakers White Sz 8.5,” https://www.etsy.com/listing/799277609/rare-deadstock-vintage-
     1970s-converse; eBay, “Vintage Converse Seinfeld All Star Chuck Taylor Tri Multi Color Rare Made In USA,”
     www.ebay.com/itm/194090957663.
99
     TD Cowen, “Sneakers as an Alternative Asset Class, Part II,” July 20, 2020,
     http://www.cowen.com/insights/sneakers-as-an-alternative-asset-class-part-ii. (“Our estimates of third party
     data and interviews with channel participants suggest the sneaker and streetwear resale market is north of $2B
     in North America, growing by 20%+ y/y with potential to reach $30 billion globally by FY30E.”).



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sneaker. As a result, consumers often must wait in line – sometimes for days – or enter a raffle
for their chance to purchase limited editions (Figure 3). 100


                           Figure 3: Long Lines for New Sneaker Releases 101




          73.     Scarcity has been an important driver of Sneakerhead culture and hype.
Sneakerheads often strive to own products that are rare and that nobody else has. For instance,
Bobbito Garcia, a DJ and long-time Sneakerhead, notes:

                  The popularity of kicks that have been put out of production is
                  nothing new to kids in New York who grew up within basketball
                  subculture. It wasn’t the key necessarily to have a pair that was out
                  of production, but rather to have a pair that nobody else had,
                  whether it be ‘cause they were an old model, or because they was
                  in a hot flavor, or because they weren’t available to the public, and
                  only to college/pro teams. 102


100
      See, for example, “Sneakerheadz,” 2022, 00:56 – 1:26; The Famuan, “It’s All About the Shoes as Nike Releases
      Draw Crowds,” March 30, 2018, http://www.thefamuanonline.com/2018/03/30/its-all-about-the-shoes-as-nike-
      releases-draw-crowds; Queue-it, “What are Sneaker Raffles, How do They Work & Why do Retailers Use
      Them,” February 23, 2023, https://queue-it.com/blog/sneaker-raffles/.
101
      Medium, “How Teens Are Making Thousands of Dollars in this Billion Dollar Industry,” August 17, 2019,
      https://medium.com/@champions8022/how-teens-are-making-3000-per-month-in-this-billion-dollar-industry-
      4bb6fd727995.
102
      Bobbito, “Confessions of a Sneaker Addict,” The Source, May 1991,
      https://pressrewind.files.wordpress.com/2007/04/bobbito_source591.jpg.



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          74.      The use of limited releases, nicknamed “product drops,” to cause scarcity by
brands has given rise to an entire “drop culture” – the community, jargon, and behavior of people
who “embrace product drops.” 103

          75.      Brands, including Nike, use scarcity as a marketing device, capitalizing on
Sneakerheads’ desire to own rare sneakers. Footwear brand ASICS’s Lifestyle Director Mike
Jensen noted “scarcity is currency.” 104 Nike calls this strategy “quick strikes,” 105 reporting over
40 collab/limited edition sneakers on its website, and featuring a calendar of upcoming releases,
with new limited editions dropping daily. 106 More recently, Nike has begun selling limited-
release shoes exclusively through a lottery system only accessible in its SNKRS app. Limited
supply creates the aura of exclusivity, increasing consumer demand and generating hype for the
product and the brand. On the SNKRS app, for example, social media tools allow users to post
their sneaker purchases online via the app, and heighten the hype around Nike’s limited
releases. 107


          B.       Scarcity drives the need for a resale market

          76.      The limited nature of sneaker releases by brands has led to an active resale market
where popular sneaker models are traded. The resale market for sneakers has exploded in recent
years and is expected to continue its rapid growth, estimated to reach $30 billion globally by
2030. 108 The resale market has played a vital role in making sneakers more accessible. It is, and
has always been, an important means through which Sneakerheads can access the rare and



103
      See, for example, Queue-it, “Drop Culture: The Wild History & Exciting Future of Product Drops,” August 12,
      2022, https://queue-it.com/blog/drop-culture/ (“Drop culture is the thinking, behavior, and community of
      customers and brands that embrace product drops. […] Drop culture is closely related to sneaker and streetwear
      culture. It’s spawned its own communities, billion-dollar companies, media outlets and forums, and jargon.”).
104
      “Sneakerheadz,” 2022, 33:20 – 33:23.
105
      “Sneakerheadz,” 2022, 17:50 – 18:01.
106
      Nike, “Nike SNKRS. Release Dates,” www.nike.com/launch.
107
      See, for example, Fox Business, “Why Investors Should Pay Attention to Nike’s SNKRS App,” March 16,
      2016, www foxbusiness.com/markets/why-investors-should-pay-attention-to-nikes-snkrs-app.
108
      See, for example, TD Cowen, “Sneakers as an Alternative Asset Class, Part II,” July 20, 2020,
      http://www.cowen.com/insights/sneakers-as-an-alternative-asset-class-part-ii (TD Cowen’s research suggests
      that “the sneaker and streetwear resale market is north of $2B in North America, growing by 20%+ y/y with
      potential to reach $30 billion globally by FY30E.”).



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limited release styles that they may not have been able to obtain directly from the brand. When
limited releases sell out when released by the brand, they then are available only through the
resale market, often at prices much higher than the original retail price. 109 The resale market also
allows Sneakerheads to trade in rare, vintage styles that are no longer accessible from brands or
authorized sellers. 110

          77.       Some Sneakerheads purchase multiple pairs of sneakers directly from brands or
authorized sellers, with the goal of reselling them. 111 Resellers look to the reaction towards
sneaker releases by brands to identify the most lucrative products and price them accordingly.
Many Sneakerheads have a preference towards buying limited-release sneakers because, as
explained in Section V.A, they are more likely to retain value over time. As a result, limited-
release sneakers hold value as investments far beyond the amounts at which they retail when
bought directly from brands or authorized sellers.

          78.       This, in turn, increases the value of the brand’s future releases, as people compete
to purchase them at retail to resell them.


          C.        The digital revolution changed how sneakers are purchased

          79.       Prior to the Internet, Sneakerheads often had to put in significant time and effort
to locate popular shoes. As Russ Bengtson, former Sneaker Editor of Complex magazine
explains, “before the Internet, you had to either know some place, know someone, or know
something to get your hands on certain releases.” 112 Some serious collectors went even further.
According to Elliot Curtis, co-founder of Sneakerology, “prior to the Internet, if you were really
a sneaker collector, you would have to travel to different cities to get certain models.” 113 For
example, people traveled between New York, Philadelphia, and Baltimore to learn about and


109
      See, for example, Finance Buzz, “How to Invest in Sneakers (Yes, We Said Sneakers),” February 6, 2023,
      https://financebuzz.com/how-to-invest-in-sneakers (“Some popular shoe releases are limited to small runs.
      Others are available only in specific markets [...] As soon as they are released in the retail market, the resale
      value starts to skyrocket.”).
110
      See, for example, “Sneakerheadz,” 2022, 17:56 - 18:00.
111
      See, for example, “Sneakerheadz,” 2022, 16:43 - 16:53.
112
      “Sneakerheadz,” 2022, 13:29 – 13:33.
113
      “Sneakerheadz,” 2022, 14:35 – 14:41.



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purchase sneakers not available at their local shoe store, such as Nike’s Air Force Ones, which
were rereleased in 1985 to only three stores in Baltimore. 114 Information about new releases was
obtained mainly at physical retail locations, and often involved a return trip to that retail location
at the specific time of a release. 115 As a result, individuals who lived far from physical
marketplaces had little to no access to sneakers. For example, Russ Bengtson questioned, “if you
were a kid in Iowa, before the Internet, where do you go?” 116

          80.      The resale market for sneakers was transformed by the Internet. When access to
the Internet broadened, some Sneakerheads began trading shoes online through forums such as
NikeTalk and online marketplace eBay, often at prices higher than the original retail price. 117
What was once a physical hunt for valuable sneakers in select locations became a more
democratized and open hunt for valuable sneakers online. Sneakerheads also no longer needed to
face the hassle of long lines or fight crowds to get the sneakers they wanted. 118 And what had
been a regional subculture expanded across international borders. 119

          81.      Online resale marketplaces gave anyone access to the rarest models of sneakers,
including those without direct access to a brand or authorized seller’s retail locations. On those
platforms, “with the right price, you can get any shoe you want.” 120 Rare, limited-edition
sneakers are more likely to make their way to resale markets since they are less likely to be




114
      See, for example, “Sneakerheadz,” 2022, 14:41 – 14:48; Finish Line, “History of Nike Air Force 1s,”
      https://blog finishline.com/history-of-nike-air-force-1.
115
      See, for example, “Sneakerheadz,” 2022, 14:49 – 15:17.
116
      “Sneakerheadz,” 2022, 18:05 – 18:13.
117
      Release, “The History of Sneaker Reselling and the Current State of the Game,” December 2, 2020,
      https://releaserecovery.com/2020/12/02/the-history-of-sneaker-reselling-and-the-current-state-of-the-game, (“A
      sneaker reseller is simply a person who purchases limited edition pairs of deadstock sneakers and sells them for
      a profit to another consumer. […] In the early 2000’s resellers began to use the internet to their advantage.
      Forums such as ‘Nike Talk’ as well as many others became a platform for resellers and consumers alike, to buy,
      sell, trade, and verify authenticity of their products.”).
118
      See, for example, “Sneakerheadz,” 2022, 16:17 – 16:54 (Sneakerhead and entrepreneur Andre Ljustina recalled
      having to stepped back and losing a popular, rare pair of Jordan 11s while he was 16-17 years old when
      someone intimidating cut the line in front of him. This was also a critical time point that prompted him to start
      looking on the Internet, where he found online platforms like eBay. Via eBay, he bought “a couple extra pairs
      [of Jordan 11s], put them up on eBay, sold them for 20 bucks more”, and got his pair for free.).
119
      See, for example, “Sneakerheadz,” 2022, 19:50 – 19:56.
120
      “Sneakerheadz,” 2022, 18:01 – 18:06.



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available from brands or authorized sellers and can fetch high prices. 121 Now, anyone with
Internet access can find rare sneakers; you do not need an “in” with sneaker sellers or to be
geographically near sneaker retail locations. 122

          82.      Through online forums and the Internet, many Sneakerheads also gained access to
new information and many started researching new sneaker models in more depth. In the pre-
Internet era, Sneakerheads typically did not have much background information about their
sneakers – including details like the designer behind the sneaker model – as this information was
not advertised. Now, Sneakerheads can easily go to brands’ websites to learn more about a
sneaker’s details; they can also discuss sneaker details and get opinions from other Sneakerheads
on online forums such as Reddit and NikeTalk. For example, NikeTalk has a forum dedicated to
“Sneaker Reviews” in which people post questions and engage with other Sneakerheads
regarding a shoe’s performance, fit, or even their opinions on its ranking relative to other models
of sneakers. 123


VI.       INDUSTRY FACTORS HAVE LED TO A LARGE NUMBER OF
          COUNTERFEITS IN THE RESALE SNEAKER MARKET

          A.       High demand and scarcity lead to counterfeits in resale markets for sneakers

          83.      Sneaker brands’ use of scarcity as a marketing technique has led to a
disproportionate amount of demand for particular sneaker models relative to their supply, and as
described in Section V, an active resale market. In this context, high prices and low supply have
driven fraudsters to manufacture and sell counterfeit sneakers. As a sneaker Authentication




121
      Made in Bed, “The Secondary Market: How Resales are Dominating the Sneaker Industry,” January 16, 2023,
      https://www.madeinbed.co.uk/art-business-markets/the-secondary-market-how-resales-are-dominating-the-
      sneaker-market (“Immediate sellout and high demand allow the primary market to increase its average selling
      price, which in turn increases the average selling price of a resold item on the secondary market.”).
122
      Niche Pursuits, “How to Resell Shoes: Your Simple Guide to Big Profits With Sneaker Reselling,” February 20,
      2023, https://www.nichepursuits.com/reselling-shoes (“Back in the day, people had to scour through thrift
      stores and flea markets. […] Now you just need to hop onto Hyperbeast, Stock X, Highsnobiety, Sole
      Supremacy and many other sites to keep track of the sneaker fashion market. Many of these extensively cover
      the needs of sneakerheads at all levels.”).
123
      NikeTalk, “Sneaker Reviews,” https://niketalk.com/forums/sneaker-reviews.7350 (“Sneaker Reviews: Detailed
      evaluations and opinions on footwear.”).



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Training Lead at eBay interviewed by The Economist puts it, “if a shoe has just released, you
know that immediately the people that make fakes are going to be straight on it.” 124

          84.      Based on conversations I have had with other Sneakerheads and the discussions I
have read on social media forums, counterfeits are perceived to be common. This aligns with
estimates that report that the market for counterfeit sneakers is worth as much as $450 billion,
more than five times the market for the sales of all authentic sneakers. 125

          85.      The lack of availability of certain models of sneakers directly from brands or from
their authorized resellers has also made the most sought-after sneakers so expensive that some
consumers, in particular fashion followers, looking for a more affordable option, have started
considering purchasing a counterfeit pair as long as it looks good. In other words, some
consumers now choose the “steal” over the “real,” 126 and, in my experience, some of the
Sneakerheads who used to hide the fact that their shoes were counterfeit now more openly
acknowledge it, and sometimes even brag about it. Influencers who tend to be rather
knowledgeable about sneakers are reported to have become “a significant force” in driving
demand for counterfeits and knowingly purchase counterfeits themselves. 127 As discussed in
more detail in Section VI.C, the increase in counterfeit sneaker quality has amplified this
trend. 128


          B.       The transition to online sales has led to an increase in counterfeits

          86.      In recent years, the use of digital technology by some sneaker brands and some
resellers has led to an increase in the incentives to produce counterfeit sneakers, and certain
aspects of the transition to online resale markets have made it easier for counterfeiters to sell
their fraudulent goods to customers, unsuspecting or not.


124
      “What is Driving the Proliferation of Counterfeit Sneakers,” 2022, 2:18-2:22.
125
      See, for example, Run Repeat, “Sneaker Industry Statistics,” October 20, 2021, https://runrepeat.com/sneaker-
      industry-stats (“The sneaker industry is worth $78 billion. […] The resale market is worth $10 billion. […]
      Estimates suggest the counterfeit sneaker market could be worth as much as $450 billion -- more than 5 times
      the value of the legitimate market.”).
126
      “What is Driving the Proliferation of Counterfeit Sneakers,” 2022, 0:33-0:40.
127
      See, for example, “What is Driving the Proliferation of Counterfeit Sneakers,” 2022, 7:10 – 9:00.
128
      See, for example, “What is Driving the Proliferation of Counterfeit Sneakers,” 2022, 6:35 – 6:40.



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          87.      As brands move releases online, some resellers use “bots” to quickly purchase
multiple pairs directly from brands or authorized resellers when a sneaker model “drops,” which
reduces the supply available for consumers at the retail price. 129 As a result, more consumers
look to purchase in the resale market, where prices are typically higher. The combination of
disproportionate demand and high resale prices further increases the incentives to produce and
sell counterfeit sneakers.

          88.      Certain aspects of the transition to online resale markets have also made it easier
to pass off counterfeit sneakers as authentic. First, many resale marketplaces do not have
intermediaries who can verify that the item is authentic or in the condition described in the
listing. For example, eBay is a popular consumer-to-consumer platform that facilitates sneaker
resale. Sellers usually create “listings” that include descriptions and photos that showcase the
item’s condition and quality, as well as payment and shipping options for buyers. 130 Prior to the
launch of eBay’s verification processes, 131 transactions occurred directly between buyers and
sellers without intermediaries, leaving room for skepticism over the quality, condition, or
authenticity of the item. 132

          89.      Second, when sneakers are sold over the Internet in resale markets, it is often
impossible for buyers to view the pair of sneakers they will be purchasing in the same way as
they would when shopping in person. Further, the photographs of the sneakers provided by the




129
      See, for example, The Sole Supplier, “What is a Sneaker Bot and How do They Work?,” December 3, 2021,
      https://thesolesupplier.co.uk/news/sneaker-bot (“Sneaker bots have become incredibly common within the
      sneaker industry and unfortunately they make getting the latest shoes much harder. Because sneaker bots send
      through hundreds to even thousands of requests per release, it makes the likelihood of copping manually
      incredibly slim. The use of sneaker bots makes it harder for sneakerheads and people who want to wear the
      sneakers to actually get their hands on them. Instead, they are forced to turn to a secondary market and usually
      have to pay a premium.”).
130
      eBay, “How Buying Works on eBay,” https://www.ebay.com/help/buying/buy-now/buying-works?id=4002.
131
      The Verge, “eBay Launches Sneaker Authentication Service to Combat Counterfeit Sales,” October 13, 2020,
      https://www.theverge.com/2020/10/13/21514028/ebay-sneaker-con-authentication-100-guarantee-fake-
      counterfeit-limited-edition (“eBay launches sneaker authentication service to combat counterfeit sales.”).
132
      Prior to the authentication service, people had issues with the quality, condition, or authenticity of the sneakers
      they purchased. See, for example, eBay, “Bad Quality,” October 11, 2017, https://community.ebay.com/t5/Ask-
      a-Mentor/Bad-Quality/qaq-p/27600658 (“I bought a nike airmax 2017 shoes two months ago [on eBay]. I used
      the shoes three times and the sole is peeling (both shoes). I went to the nike store and they told me my shoes are
      not original.”).



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seller may not be trustworthy, 133 making it easier for resellers to sell counterfeit sneakers through
certain platforms where a buyer may need to rely on the photograph to evaluate the product that
they are purchasing.

          90.      These factors have led to an increase in the prevalence of counterfeit sneakers
sold through online resale markets. The earliest online marketplaces have been compared to “the
Wild West,” where sneaker inventory was low, and product quality and authenticity were
uncertain. 134 Counterfeiters reportedly attempt to sell sneakers via eBay on a daily basis, 135
“utilizing e-commerce to further blur the lines between legal and illegal retail markets.” 136


          C.       Sneakerheads commonly recognize that the gap in quality between
                   counterfeit and Nike sneakers has decreased in recent years

          91.      Many Sneakerheads are aware of the range in quality of counterfeits and
understand that some counterfeit sneakers are in fact not well made. However, over the past 25
years, the perceived quality of counterfeits has reportedly increased, while the perceived quality
of Nike’s sneakers has reportedly decreased. Sneakerheads like myself acknowledge that these
trends have contributed to a decrease in perceived differences between authentic and counterfeit
sneakers.

          92.      Today, the best counterfeit sneakers have been reported to be virtually
indistinguishable from authentic ones. 137 According to the eBay sneaker authenticator

133
      See, for example, Reddit, “Buyer Beware With eBay Authenticity Guarantee,” 2022,
      https://www.reddit.com/r/Sneakers/comments/uigurk/buyer_beware_with_ebay_authenticity_guarantee (“[T]he
      seller used phots of a deadstock pair. It’s not even the same pair listed/photoed. Bait and switch. The guy had
      zero feedback but I thought I was good because it goes through authenticity guarantee.”).
134
      See, for example, Yahoo, “‘Choose Wisely’: Inside Flight Club New York, a Sneakerhead’s Heaven,” January
      20, 2019, https://www.yahoo.com/now/flight-club-new-york-sneaker-numbers-stats-164829083.html (“Before
      shops like Flight Club opened, the sneaker consignment game was like the Wild West. Sneakerheads had to
      venture out to eBay and other far recesses of the internet to secure a pair of coveted or rare shoes. As many
      people have found out the hard way, counterfeit goods are plentiful on the internet, and many a Sneakerhead has
      been scammed into spending big money on fake kicks.”).
135
      See, for example, “What is Driving the Proliferation of Counterfeit Sneakers,” 2022, 2:14 – 2:18.
136
      “What is Driving the Proliferation of Counterfeit Sneakers,” 2022, 4:54 - 5:01.
137
      See, for example, The Fashion Law, “Nowadays, Counterfeit Goods are ‘Almost Identical’ to the Real Thing,”
      May 24, 2018, www.thefashionlaw.com/counterfeit-goods-are-almost-identical-the-the-real-thing (“It is
      becoming increasing difficult – even for experts – to distinguish between authentic goods and counterfeit
      ones.”); Nicholas Schmidle, “Inside the Knockoff-Tennis-Shoe Factory,” The New York Times, August 19,
      2010, https://www.nytimes.com/2010/08/22/magazine/22fake-t html.



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interviewed by The Economist, “recently we’ve been seeing a lot of counterfeits that [are]
getting a lot of the good details of the shoe.” 138 Similarly, more than a decade ago, one
counterfeiter interviewed as part of a 2010 investigative report by the New York Times said
“[t]he only way to tell the difference between the real one and ours is by the smell of the
glue.” 139 Influencers even promote these high-quality replicas, or “reps,” on social media
platforms, highlighting the benefits of these lower cost alternatives. 140 Because the quality of
some counterfeits is so high, it is well-known in the Sneakerhead community that even experts
may have a difficult time distinguishing authentic sneakers from very well-made counterfeit
ones, making it easier to sell counterfeits. Employees at Hypebeast, a leading online store of
men’s contemporary fashion and streetwear, “could only correctly identify whether a pair of
sneakers were legit or not in 64 percent of instances when they put their skills to the test on
video.” 141

          93.      Similarly, on social media such as Reddit, many users discuss how difficult it can
be to distinguish “authentic” sneakers from counterfeit ones. For example, one user writes, “it is
near enough impossible to tell a decent fake from the real ones” and another writes “[r]eps [i.e.,
replicas] have gotten to the point that they’re almost completely identical to authentic shoes.” 142
Additionally, on NikeTalk, a whole forum is dedicated to “price/fake checks” 143 where users
debate whether a pair of sneakers is authentic or whether certain imperfections are a result of
flaws with Nike’s quality control. 144


138
      “What is Driving the Proliferation of Counterfeit Sneakers,” 2022, 6:46 - 6:50.
139
      Nicholas Schmidle, “Inside the Knockoff-Tennis-Shoe Factory,” The New York Times, August 19, 2010,
      https://www.nytimes.com/2010/08/22/magazine/22fake-t html.
140
      See, for example, “What is Driving the Proliferation of Counterfeit Sneakers,” 2022, 7:21 - 8:01.
141
      High Snobiety, “In 2023 There’s No Reason To Be Mad at Fake Kicks,” 2023,
      www highsnobiety.com/p/buying-fake-sneakers.
142
      Reddit, “Sneakerheads Try to Spot the Fake Jordans,” 2019,
      https://www.reddit.com/r/Repsneakers/comments/afy70k/sneakerheads_try_to_spot_the_fake_jordans_im;
      Reddit, “All my Jordans are Fake and I Don‘t Care,” 2022,
      https://www.reddit.com/r/TrueOffMyChest/comments/z54oft/all_my_jordans_are_fake_and_i_dont_care.
143
      NikeTalk, “Price/Fake Checks,” https://niketalk.com/forums/price-fake-checks.7407.
144
      See, for example, NikeTalk, “Air Jordan 3 Black Cement Legit Check,” March 14, 2018,
      https://niketalk.com/threads/air-jordan-3-black-cement-legit-check.670542 (“I do agree that the leather on your
      pair is more smooth than the tumbled/pebbled look we have seen on most pairs. But I have also seen several
      pairs on the BC3 thread that have had inconsistencies from the left to right shoe. The hyper royal 13 has the
      same issues. To me its Quality check issues overall. My opinion is your pair is real.”).



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          94.       Additionally, the perceived quality of Nike’s sneakers has reportedly decreased in
the past two decades, despite regular price increases. 145 For instance, certain Nike sneakers, such
as the Air Jordan 1 Mid and the Air Force 1, are now made at least in part using synthetic leather,
instead of fully genuine leather. 146 Anecdotal evidence from Sneakerhead forums highlight
issues with the soles of Nike sneakers separating from the uppers over time or even with minimal
use. 147 As a result, these Sneakerhead forums, as well as popular media generally, have recently
reported incidents of Nike sneakers falling apart unexpectedly. 148 The most high-profile of these
incidents happened to Zion Williamson, the Duke basketballer who would later go on to be the
first pick in the NBA draft. His sneaker “blew apart” during the “biggest game of his college
career” against North Carolina in 2019, and caused him a Grade 1 knee sprain. 149 This incident


145
      See, for example, The Campanile, “The Decline of Nike in Sneaker Culture,” April 25, 2014,
      https://thecampanile.org/2014/04/25/the-decline-of-nike-in-sneaker-culture (“In the past decade, Nike has been
      forced to compensate for an influx in consumers in the sneaker community, specifically in the Jordan line,
      resulting in less exclusive releases and also poorer quality in the construction and material of shoes. […] As
      well as skimping on the quality of their shoes, Nike is also increasing the prices.”); Kicks 1-2, “Nike’s Ongoing
      Struggle With Quality Control Issues,” February 14, 2016,
      https://kicksonetwo.rossdwyer.com/2016/02/14/nikes-ongoing-struggle-with-quality-control-issues
      (“[Y]esterday’s release of the OG ‘White Cement’ Jordan IV’s ran into some troubles. Several pairs were
      shipped either scratched or with black or blue glue stains[.]”).
146
      See, for example, The Campanile, “The Decline of Nike in Sneaker Culture,” April 25, 2014,
      https://thecampanile.org/2014/04/25/the-decline-of-nike-in-sneaker-culture (“In the past decade, Nike has been
      forced to compensate for an influx in consumers in the sneaker community, specifically in the Jordan line,
      resulting in less exclusive releases and also poorer quality in the construction and material of shoes. […] Since
      its debut in 1982, the Air Force 1 shoe has gone from having genuine leather to synthetic. As well as skimping
      on the quality of their shoes, Nike is also increasing the prices.”), (“Since its debut in 1982, the Air Force 1 shoe
      has gone from having genuine leather to synthetic.”); Nike, “Air Jordan 1 Mid,” https://www.nike.com/t/air-
      jordan-1-mid-mens-shoes-b3js2D/DQ8426-400(“Benefits: Leather, synthetic leather and textile upper for a
      supportive feel.”).
147
      See, for example, Reddit, “Wow. Used for an Entire Day and Already Separating,”
      https://www.reddit.com/r/Sneakers/comments/woldik/wow_used_for_an_entire_day_and_already_separating
      (“wow. Used for an entire day and already separating […] it’s getting ridiculous with nike QC to the point that
      fake pairs of panda dunks are actually better quality than retail pairs”); Reddit, “Nike Zoomx Invincible - Upper
      Separation,”
      https://www.reddit.com/r/RunningShoeGeeks/comments/u6e55t/nike_zoomx_invincible_upper_separation
      (“Nike Zoomx Invincible – upper separation […] [T]his pair clocked less than 80km.”).
148
      See, for example, Reddit, “My Shoes Don’t Last More Than a Few Months, I Don’t Know What to Do,” 2022,
      https://www.reddit.com/r/mildlyinfuriating/comments/wxika2/my_shoes_dont_last_more_than_a_few_months_
      i_dont (“Nike Air Max 90: the sole started falling apart (after only 2 months).” Another user comments, “Have
      had a similar experience with Nike shoes. Bought Nike Air Max in oct 2021, and by jan 2022 my toe created a
      hole in the mesh on both shoes. Talk about garbage quality.”).
149
      See, for example, Jace Evans, “Zion Williamson Blows Apart Sneaker, Heads to Locker Room with Game-
      Ending Knee Injury,” USA Today, February 20, 2019,
      www.usatoday.com/story/sports/ncaab/acc/2019/02/20/zion-williamson-shoe-blows-apart-apparent-



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was covered by various popular news media sources like USA Today, Forbes, Washington Post,
and ESPN, and was discussed extensively on social media. 150

          95.      According to popular media, the decrease in perceived quality of authentic Nike
sneakers has made it more difficult to distinguish counterfeit sneakers from authentic ones. 151
One article states that Nike’s authentic products have even had issues with “mismatched logos,
missing (or bolded) patterns, misshapen heels and more,” which are all traits that might
otherwise have been used to identify a counterfeit shoe. 152 Indeed, these are some of the
characteristics that experts have observed when comparing counterfeit shoes to authentic ones. 153


      injury/2934508002/ (“Duke freshman Zion Williamson’s Nike sneaker blew apart when he planted his foot in
      the early going in the No. 1 Blue Devils’ game against the rival North Carolina Tar Heels.”); Scott Gleeson,
      “Duke Star Zion Williamson Considered ‘Day-to-Day’ With a Knee Sprain,” USA Today, February 21, 2019,
      https://www.usatoday.com/story/sports/ncaab/acc/2019/02/21/zion-williamson-duke-day-to-day-knee-sprain-
      injury/2936664002 (“Duke star freshman Zion Williamson is listed as ‘day-to-day’ while he recovers from a
      Grade 1 knee sprain, the school announced on Thursday. Less than a minute into the Blue Devils’ 88-72 loss to
      North Carolina on Wednesday, Williamson suffered the right knee sprain on a bizarre play that saw the 6-7
      forward’s shoe blow apart when he planted his foot.”).
150
      See, for example, Jace Evans, “Zion Williamson Blows Apart Sneaker, Heads to Locker Room with Game-
      Ending Knee Injury,” USA Today, February 20, 2019,
      www.usatoday.com/story/sports/ncaab/acc/2019/02/20/zion-williamson-shoe-blows-apart-apparent-
      injury/2934508002/ (“Duke freshman Zion Williamson’s Nike sneaker blew apart when he planted his foot in
      the early going in the No. 1 Blue Devils’ game against the rival North Carolina Tar Heels.”); SBNation, “NBA
      Players React to Zion Williamson’s Crushing Knee Injury,” February 20, 2019,
      https://www.sbnation.com/2019/2/20/18234186/zion-williamson-knee-injury-reactions-duke (“Now, NBA
      players and high-profile fans of the game are tweeting their support of the freshman phenom whose injury may
      have put his long-term basketball career in jeopardy.”); ESPN, “Zion’s Shoe Blowout and Injury ‘Couldn’t be
      Worse’ for Nike - Max Kellerman,” 2019,
      https://www.youtube.com/watch?v=LqJUgQAyDMo&ab_channel=ESPN; Des Bieler, “Nike Takes a Beating
      After Zion Williamson’s Shoe Explodes,” The Washington Post, February 20, 2019,
      https://www.washingtonpost.com/sports/2019/02/21/nike-takes-beating-after-zion-williamsons-shoe-explodes;
      David Ching, “For Nike Brand, Zion Williamson’s Shoe Blowout is the Exact Opposite of Tiger’s Legendary
      Chip-in,” Forbes, February 21, 2019, https://www.forbes.com/sites/davidching/2019/02/21/for-nike-brand-zion-
      williamsons-shoe-blowout-is-the-exact-opposite-of-tigers-legendary-chip-in.
151
      See, for example, Nicholas Schmidle, “Inside the Knockoff-Tennis-Shoe Factory,” The New York Times,
      August 19, 2010, https://www nytimes.com/2010/08/22/magazine/22fake-t.html; The Lance, “Does Nike Value
      Quantity Over Quality?,” November 23, 2021, https://lance.mcquaid.org/12833/opinion/does-nike-value-
      quantity-over-quality.
152
      Gear Patrol, “Why Nike’s Quality Control is Suddenly Under Scrutiny,” March 20, 2023,
      www.gearpatrol.com/style/shoes-boots/a43364644/nike-quality-control-stockx-fakes (“Has Nike’s quality
      control gotten worse? There’s certainly a big uptick of anecdotal reports pointing out botched products. A bevy
      of recent Tweets call out mismatched logos, missing (or bolded) patterns, misshapen heels and more.”).
153
      See, for example, Nicholas Schmidle, “Inside the Knockoff-Tennis-Shoe Factory,” The New York Times,
      August 19, 2010, https://www nytimes.com/2010/08/22/magazine/22fake-t.html (Various examples of
      characteristics that differentiate the counterfeit sneakers from the authentic ones are the “signature Nike
      logo…[being] more like a checkmark than a swoosh,” and “the model number [being] rendered more crudely,”



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VII.      SNEAKERHEADS ARE OFTEN SOPHISTICATED CONSUMERS WHO
          UNDERSTAND THE RISK THAT THEY WILL GET COUNTERFEITS

          A.       Sneakerheads are typically sophisticated consumers

          96.      Sneakerheads tend to be sophisticated consumers. As discussed in Section III.A,
Sneakerheads usually are deeply passionate about sneakers and carefully consider each sneaker
purchase. They often look for specific sneaker models that complement their existing collection,
and that are trendy. Complementing a sneaker collection can look different based on a
Sneakerhead’s preferences, but generally collections rely on a theme – one centered around a
brand, specific colorways, styles, or a combination of multiple aspects. Many Sneakerheads also
understand the landscape of the sneaker market, and purchase sneakers that have value as
investments.

          97.      Sneakerheads are known to spend time and effort identifying and obtaining the
sneakers they value most. For some, the hunt is part of the fun. For example, Sneakerheads
typically stay alert to the timing of releases, locate stores or online marketplaces to make their
purchases, and conduct due diligence around their prospective purchases (which Sneakerheads
term “legit checks”), by taking steps such as carefully reviewing photographs of the sneakers
they are about to purchase or asking their Sneakerhead communities about prior experiences with
the seller. Ben Baller, a celebrity jeweler, explained, “A real Sneakerhead knows everything
about sneakers, about that shoe; why it’s cool; why it looks good.” 154 Yu Ming Wu, founder of
Sneaker Con, a traveling convention for Sneakerheads to buy, sell, and trade sneakers (which I
have attended multiple times in New York City as noted in Section II), notes that he spent close
to 10 years seeking a particular pair of sneakers (the Nike Air Max 1s in the Amsterdam
“colorway,” or color), which he eventually purchased for $1,500. 155




      which makes it look bolded.); Outsole, “How to Spot a Fake, Counterfeit or Replica Nike Air Max 1 Sneaker?,”
      October 18, 2020, https://www.outsole nl/blog/how-do-i-recognize-a-fake-counterfeit-or-replica-nike-air-max-
      1-sneaker (“The shape of the heel often deviates on fake pairs.”).
154
      “Sneakerheadz,” 2022, 30:31 - 30:37.
155
      Joanna Nikas, “Tips From Sneakers Heads on Scoring the Hottest Shoes and Keeping Them Fresh,” The New
      York Times, January 2, 2018, https://www.nytimes.com/2018/01/02/style/sneakercon-shoe-care-tips-
      shopping html.



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          98.      As a result of the time and effort they put into their collections, Sneakerheads also
typically have a keen eye for detail and quality. They are typically discerning about the
materials, design, and craftsmanship of each pair of sneakers they purchase. Antonio Linares, a
Sneakerhead who specializes in authentication, explains that he looks at craftmanship, detail,
material used, and fonts when authenticating sneakers. He adds that “a common difference
amongst real from fakes is usually on inside size tags of sneakers, as well as on the box labels.
The font style is 99.9 percent different, always.” 156

          99.      Sneakerheads may spend a great deal of money on the sneakers they purchase.
Some are willing to pay a premium price for exclusive and limited-edition sneakers, particularly
sneaker models with less than 1,000 pairs in existence, or those which are released at a particular
store or in a particular country with which they have a connection. For example, Preston Truman,
former NBA ball boy (see Section IV.B), sold a pair of Michael Jordan’s Air Jordans for over
$200,000; they later resold for $2.2 million. 157 Additionally, Benjamin Kapelushnik, a sneaker
reseller to athletes and celebrities, paid $14,000 for a pair of sample Air Jordans. 158 Samples are
test products of brands, and as such, only a few pairs of the style and colorway may be released
to the market. As a result, they are highly sought after in the Sneakerhead community due to
their rarity.


          B.       Sneakerheads generally understand that there is always a risk they will get
                   counterfeits

          100.     Sneakerheads are generally aware that counterfeit sneakers are common. The risk
of counterfeit sneakers has been reported on extensively, including in government reports and
various popular news media. For instance, the Economist highlighted that footwear is the largest

156
      Joanna Nikas, “Tips From Sneakers Heads on Scoring the Hottest Shoes and Keeping Them Fresh,” The New
      York Times, January 2, 2018, https://www.nytimes.com/2018/01/02/style/sneakercon-shoe-care-tips-
      shopping html.
157
      Yahoo, “Michael Jordan Once Gifted His Shoes to a Ball Boy. Then, Things Got Really Messy,” April 26,
      2023, https://www.yahoo.com/lifestyle/michael-jordan-once-gifted-shoes-193200896.html (“In the case of the
      signed Air Jordan XIII Breds, which can be seen above, Truman sold the shoes for merely $215,000. While that
      may not seem like a sum to be laughed at on the surface, those same exact shoes were resold at auction at
      Sotheby’s for a record $2.2 million, the most ever paid for a pair of shoes.”).
158
      Joanna Nikas, “Tips From Sneakers Heads on Scoring the Hottest Shoes and Keeping Them Fresh,” The New
      York Times, January 2, 2018, https://www.nytimes.com/2018/01/02/style/sneakercon-shoe-care-tips-
      shopping html.



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category of counterfeit goods seized, making up over 20% of the counterfeit market. 159 Widely-
followed news outlets like ABC have highlighted large seizures of counterfeit sneakers by US
Customers and Border Protection. 160 The New York Times published an investigative report on
counterfeit sneakers as long ago as 2010. 161

          101.      The issue of counterfeits is also commonly discussed in the Sneakerhead
communities of which I am a part. For example, on the r/sneaker subreddit, user ‘Zorathus’
started a broad discussion on the high potential for shoes in the resale market to be counterfeit
and how to avoid purchasing counterfeit sneakers. 162 One response from user ‘DianaPrince0609’
acknowledges that the only way to ensure authenticity is to purchase directly from brands or
their authorized resellers. 163 As another example, one of the three pinned threads on the
NikeTalk forum is named “The Official Real vs Fake Comparison Thread.” Sneakerheads like
user ‘JumpmanATL7’ pointed out that “Not many years ago [accidentally purchasing a
counterfeit sneaker] wasn’t nearly as much of an issue because fakes were easy to spot.” But as
the perceived quality of counterfeit sneakers has increased and as they have become harder to
differentiate from authentic ones, he started the thread to help “[prevent] people from paying




159
      “What is Driving the Proliferation of Counterfeit Sneakers,” 2022.
160
      See, for example, ABC News, “Coveted Retro Air Jordans Among 14,800 Counterfeit Nike Sneakers Seized in
      California Bust,” October 9, 2019, https://abcnews.go.com/Business/coveted-retro-air-jordans-14800-
      counterfeit-nike-sneakers/story?id=66164001.
161
      Nicholas Schmidle, “Inside the Knockoff-Tennis-Shoe Factory,” The New York Times, August 19, 2010,
      https://www.nytimes.com/2010/08/22/magazine/22fake-t html.
162
      Reddit, “Daughter Obsessed With Her Shoes Not Being Fakes,”
      www reddit.com/r/Sneakers/comments/zbpnag/daughter_obessed_with_her_shoes_not_being_fakes (“Every
      single distributor looks shady AF [...] How can I know which sources are reputable and also convince her that
      she won’t get fakes? Personally i think they are all fake it’s just a matter of how faithful they are to the originals
      but what do I know.”).
163
      Reddit, “Daughter Obsessed With Her Shoes Not Being Fakes,”
      www reddit.com/r/Sneakers/comments/zbpnag/daughter_obessed_with_her_shoes_not_being_fakes (“They
      ONLY way to ensure you don’t a have fake is buying from authorized dealers. Goat, Stock X, kicks crew are
      not authorized dealers of Nike or other brands. They rely on people from the public to send their shoes in which
      means the possibility of a fake. Nike’s not gonna send you a fake.”).



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resale prices for fakes.” 164 Some Sneakerheads also share articles on these forums that discuss
the issue of counterfeits. 165

          102.     Sneakerheads generally understand that there is always a risk of purchasing
counterfeits, and they take steps to avoid it. For instance, Sneakerheads who are buying shoes
may rely on a “legit checks” and post pictures of sneakers that they are considering purchasing
for confirmation from other Sneakerheads that they are authentic. 166

          103.     The security measures taken by online platforms have convinced many
Sneakerheads, particularly younger ones, to more willingly purchase their sneakers through those
platforms. In my experience, older Sneakerheads with whom I have interacted tend to be
skeptical of the accuracy of any authenticity guarantees such as the one StockX offers (which I
describe in more detail in Section VIII), and continue to purchase their sneakers from stores or
websites from which they have been purchasing for years, while younger Sneakerheads with
whom I have interacted, who also understand that authenticity guarantees cannot be 100%
effective, are often willing to take a risk.


VIII. STOCKX’S INNOVATION HAS IMPROVED THE SNEAKER RESALE AND
      TRADING EXPERIENCE

          A.       StockX has improved the resale experience through verification

          104.     As discussed in Section VI.B, Sneakerheads faced high risks of buying
counterfeit sneakers on early online resale platforms like eBay. As a result, many Sneakerheads
turned to newer and more trustworthy online platforms that emerged to fill the need from
consumers. Those include StockX and GOAT, which started offering customers an extra layer of




164
      NikeTalk, “The Official Real vs Fake Comparison Thread,” July 23, 2020, https://niketalk.com/threads/the-
      official-real-vs-fake-comparison-thread.690734.
165
      See, for example, Quora, “How do I Identify Fake and Original [a]didas?,” https://www.quora.com/How-do-I-
      identify-fake-and-original-Adidas; LetsRun.com, “Is it Safe to Buy Shoes on Amazon?,”
      https://www.letsrun.com/forum/flat_read.php?thread=9017902; Sneaker Talk, “Fake Jordans Back in
      1985!!!!,” August 1, 2011, https://sneakertalk.com/fake-jordans-back-in-1985-t309329 html; NikeTalk, “The
      Official Real vs Fake Comparison Thread,” July 23, 2020, https://niketalk.com/threads/the-official-real-vs-fake-
      comparison-thread.690734.
166
      See, for example, NikeTalk, “Price/Fake Checks,” https://niketalk.com/forums/price-fake-checks.7407.



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inspection through verification services that decrease the possibility of buying a counterfeit pair
of sneakers.

          105.     Many platforms, including StockX, are now taking various measures to verify the
authenticity of sneakers sold through their platforms to make resale transactions safer and more
secure. eBay, for example, now employs a team of experts who screen potentially counterfeit
sneakers. 167 GOAT has been reported in popular press to use machine learning and artificial
intelligence to identify potential counterfeits before they are even listed on the platform; 168
StockX also uses machine learning as part of its verification process. 169 Consumers can also use
mobile apps to help them identify potential issues with their sneakers with varying degrees of
reliability by examining uploaded photos. 170

          106.     Rather than have sellers ship their sneakers directly to buyers, as used to be the
case with sites such as eBay, resale platforms like StockX operate a ship-to-verify model. When
a buyer successfully bids on a pair of sneakers, the seller ships the sneakers to one of StockX’s
physical verification centers, where StockX’s trained experts work to verify the sneakers
(including examination of shoes for quality-control purposes, to spot issues such as
manufacturing defects or signs the shoes are not genuine, and to ensure that sneakers are
deadstock and match their descriptions of features such as size and color) before shipping them
on to the buyer. 171


167
      eBay, “Authenticity Guarantee,” https://pages.ebay.com/authenticity-guarantee-sneakers-seller (“A team of
      independent authenticators meticulously inspects your item before sending it to the buyer, so you’re
      protected.”).
168
      See, for example, Afro Tech, “Are Your Jordans Real? Here’s How GOAT, StockX And More Use Tech to
      Authenticate Your Sneakers,” September 6, 2021, https://afrotech.com/counterfeit-sneaker-market-goat-stockx-
      authentication (“As the first line of defense, our AI and machine learning can detect counterfeit products before
      they are even able to be listed on our platform.”).
169
      StockX, “Every Item is StockX Verified,” https://stockx.com/about/verification (“We leverage machine
      learning to assess product risk and ever-evolving embedded technologies within the products to enhance our
      verification efforts.”).
170
      See, for example, CheckCheck, “Get CheckCheck,” https://getcheckcheck.com/en (“01: Upload Photos ->
      Submit. 02: Submitted photos captured through our specialized AI Cross-Referencing Database. 03: Two legit
      checkers present your final result via Co-Authentication.”).
171
      StockX, “Selling,” https://stockx.com/about/selling (“Ship Us Your Sold Items: We require that you send us the
      sold item within two business days. Simply print the label we send and follow our shipping guidelines to ensure
      your products arrive safely at our authentication center. Get Paid: We release your payouts as soon as we
      confirm your sold items are new and StockX Verified.”); StockX, “Every Item is StockX Verified,”
      https://stockx.com/about/verification.



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          107.     As discussed in Section VII, Sneakerheads generally understand that it is
impossible to detect every pair of counterfeit sneakers even using sophisticated verification
processes. Some counterfeit sneakers can be virtually indistinguishable from authentic ones and
the StockX label itself can be counterfeited. 172 Despite those challenges, StockX’s verification
process weeds out thousands of counterfeits each year, and the accompanying “StockX Verified”
label allows buyers to feel confident that steps have been taken to verify the quality of the
sneakers they purchase. 173 This is true for Sneakerheads as well as non-Sneakerheads. Daniella
Jaward, a blogger on Marketing-ish, states that she felt “safer purchasing sneakers from StockX
than eBay” because of StockX’s “extensive authentication process to ensure that the products are
real and in new condition.” 174 She later added “Since I’m nowhere near deeming myself a
Sneakerhead, I wouldn’t trust that I’d be able to tell whether a pair of shoes from eBay was real
or not.” 175 Beyond StockX’s verification process, Sneakerheads can also rely on the StockX
Buyer Promise – through which purchasers on the StockX marketplace can submit a support
request and request a second look at purchased products a buyer believes to be inauthentic, and
get a refund if StockX makes a mistake in the verification process. 176


          B.       Other valuable services provided by StockX

          108.      In addition to helping Sneakerheads feel more confident about the quality of their
purchase, StockX provides other valuable services to its customers, including making it easy for
sellers to list sneakers and buyers to bid for or buy them, and providing a payment processing


172
      See, for example, Dype, “How to Spot FAKE StockX Tags, Cards, Receipts in 2023,” January 1, 2023,
      https://www.dypeapp.com/guide/how-to-spot-fake-stockx-accessories (“StockX is also constantly evolving their
      tags and /or accessories to tackle the replication of them as well.”).
173
      StockX, “Every Item is StockX Verified,” https://stockx.com/about/verification (“Shop on StockX with
      confidence knowing every purchase is StockX Verified […] StockX has always been committed to fighting
      counterfeits and fraud on our platform. We remain one of the few marketplaces committed to physically
      reviewing 100% of the items that pass through our platform. Our efforts have led to rejecting over 1.4 million
      items valued over $400 million.”).
174
      Marketing-ish, “StockX: The Rise of a Sneaker Empire,” https://www.themarketingish.com/archive/stockx.
175
      Marketing-ish, “StockX: The Rise of a Sneaker Empire,” https://www.themarketingish.com/archive/stockx.
176
      StockX, “What is the StockX Buyer Promise?,” April 17, 2023, https://stockx.com/help/articles/What-is-the-
      StockX-Buyer-Promise (“Our goal, as it always has been, is for customers to access the most sought after
      products without the fear of receiving incorrect or inauthentic goods. The StockX Buyer Promise solidifies this
      mission by providing support for Buyers should we make a mistake (e.g. we ship you the wrong order, we
      incorrectly verify an item).”).



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system once a buyer and a seller decide to transact. 177 For example, sellers do not have to post
photos of the sneakers, write product descriptions, or negotiate with prospective buyers. 178
Buyers can see the current price of a given shoe model on a unique page and do not need to
browse multiple listings from various sellers. 179

          109.     I have sold sneakers through StockX in the past and have found the process to be
straightforward and convenient. For example, there was clear communication between me and
the StockX platform to understand the steps that I had to take to make the sale. The process of
sending my sneakers in for verification was smooth - I was automatically sent a shipping label
that I just had to attach to the package before dropping it off. I was paid quickly.

          110.     StockX is also valuable for many Sneakerheads because it provides detailed and
otherwise difficult to obtain information like the sale history and average sale price for every
model of sneaker. This data is not only useful for consumers looking for a good deal, but also
helps set prices in the resale market, since resellers often reference StockX to determine a fair
price for their items. 180 In this regard, StockX has been described to be for the sneaker market
what the Kelley Blue Book is for the car market. 181




177
      StockX, “Selling,” https://stockx.com/about/selling (“Just search for your product and set your price. You won’t
      need to take product pictures, share personal information, or negotiate with potential Buyers.”); StockX,
      “Buying,” https://stockx.com/about/buying } (“Buy Now at the lowest Ask, or place a lower Bid at the price
      you want to pay. We will send you immediate updates as prices move on your Bids. Bids can be renewed or let
      go when they’re about to expire, and you’ll be notified ahead of time.”).
178
      StockX, “The Current Culture Marketplace,” https://stockx.com/about/how-it-works (“[N]o taking photos, no
      writing catchy descriptions, and no dealing with rogue buyers or sellers. We handle everything to make sure
      you can buy and sell with confidence.”).
179
      StockX, “Buying,” https://stockx.com/about/buying.
180
      See, for example, Jacob Gallagher, “This Website is the Stock Market for Nikes and Rolexes,” The Wall Street
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      1543251772 (A sneaker seller interviewed for the article claimed, “everyone looks at StockX and takes it as the
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      New York Times, December 16, 2021, https://www.nytimes.com/2021/12/16/style/sneakers-price-spikes-virgil-
      abloh.html (The owner of a resale sneaker store in Seattle asserted that “when people come in now to sell shoes,
      we look at StockX as the price reference, and we’ve upped our offers to reflect the market.”).
181
      See, for example, Polina Noskova, “This Sneakerhead Made a Stock Exchange for Shoes,” Bloomberg, August
      18, 2016, https://www.bloomberg.com/news/articles/2016-08-18/this-sneakerhead-made-a-stock-exchange-for-
      shoes (“[Josh Luber, the founder of StockX,] collected EBay’s pricing data and built the kind of guide for
      sneakers that Kelley Blue Book compiles for automobiles.”).



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          C.       Vault NFTs are a new method of trading for Sneakerheads, which offers
                   many benefits relative to traditional trading

          111.     While I have never purchased a Vault NFT, I believe StockX’s Vault NFT model
is a useful tool for many Sneakerheads looking to store their sneakers or invest in and flip
sneakers for a profit. StockX created Vault NFTs as an innovative way to provide users of its
platform with a “new, faster, cheaper and more efficient trading experience.” 182 Each Vault NFT
is linked to a specific pair of sneakers, which is stored in StockX’s secure vault and depicted on
the image associated with the NFT. 183 This is an entirely new form of trading for the
Sneakerhead community, but it is one that aligns with how and why certain Sneakerheads buy
sneakers. Many Sneakerheads never wear their sneakers and store them in storage units as
described in Section IV, or buy them to flip them.

          112.     Vault NFTs address a number of challenges associated with collecting and trading
physical sneakers. First, it is expensive and time-consuming to trade physical sneakers. Every
pair of sneakers a person sells needs to be verified and shipped, and those costs add up if a
Sneakerhead trades a large number of sneakers. Plus, shipping and verification take time, so
these costs can be especially frustrating for some Sneakerheads who are looking to flip sneakers
for a profit, especially given that market prices can evolve quickly. Vault NFTs allow
Sneakerheads to buy and resell products immediately without having to physically hold them at
any point and avoids the slower and more expensive process of shipping and verifying the
sneakers. 184 As a result, Vault NFTs can help Sneakerheads flip sneakers faster and more
efficiently.

          113.     Second, it can be challenging for Sneakerheads to keep track of the sneakers in
their collections. DJ Skee, a DJ and TV host, says that he has “no idea how many shoes [he] even




182
      StockX, “NFTs,” https://stockx.com/lp/nfts.
183
      StockX, “NFTs,” https://stockx.com/lp/nfts (“Introducing Vault NFTs on StockX, new digital tokens providing
      unprecedented access and utility for our customers. Each Vault NFT is tied to a physical product (as depicted on
      the NFT), which is stored in our brand new, climate-controlled, high-security vault.”).
184
      StockX, “NFTs,” https://stockx.com/lp/nfts; StockX, “NFTs,” https://stockx.com/lp/nfts (“Because each Vault
      NFT is tied to a physical product already stored in the StockX vault, you no longer have to wait several days
      before you can resell, and you do not have to pay fees associated with multiple legs of shipping and
      authentication.”).



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[has] anymore,” and that he lost count at “well over a thousand.” 185 NBA star Carmelo Anthony
stated in an interview with Good Morning America that he also “stopped counting [how many
sneakers he owned] after a thousand.” 186 Similarly, I do not know exactly how many sneakers I
own, but the number is greater than 700 pairs. Often, in the end, “all of what [a Sneakerhead has]
acquired is going to end up in a storage space somewhere.” 187 Many Sneakerheads use methods
like taking photos of the sneakers and putting the photos on the outside of the box. This helps
them quickly identify which sneakers are in which box and can save time when searching for a
specific pair. They often keep a detailed inventory of their collection in a Google Doc, including
information about each sneaker like the brand, model, colorway, and the release date, to keep
track of their collection. Samantha Ronson, a DJ and sneaker designer, states that she has “so
many in storage now,” that she has a binder with pictures of each shoe and which storage box
they are in. 188 Vault NFTs provide an automatic inventory of a sneaker collection.

          114.     Third, Sneakerheads may also be attracted to using Vault NFTs because it reduces
the cost and inconvenience of putting shoes in storage. 189 How to store sneakers is one of the key
topics of discussion among Sneakerheads. 190 One Sneakerhead from California, who goes by the
Twitter handle ‘Kingpoetic01,’ points out that storage “can get a bit expensive when you have a
lot of shoes.” 191 Some Sneakerheads have also had security issues; they have been the victims of
burglaries and their collections have been stolen. For instance, aforementioned rapper “The
Game” had his Nike Air Mag stolen, leading him to build high security room and a bulletproof



185
      “Sneakerheadz,” 2022, 26:30 – 26:37.
186
      “Sneakerheadz,” 2022, 26:45 – 26:54.
187
      “Sneakerheadz,” 2022, 28:20 – 28:30.
188
      “Sneakerheadz,” 2022, 28:15 – 28:25.
189
      See, for example, Complex, “How To Store Your Sneaker Collection,” August 27, 2013,
      https://www.complex.com/sneakers/2013/08/sneaker-collection-storage-tips (“Whether you have five pairs of
      sneakers in your collection or 5,000, storing your sneakers is one of the biggest challenges for any serious
      sneaker collector.”).
190
      See, for example, Sole Collector, “Ask the SC Forum: The Best Way to Store Sneakers,” May 30, 2015,
      https://solecollector.com/news/2015/05/how-to-store-sneakers (“One of the biggest topics of discussion for
      sneakerheads is how to store sneakers.”).
191
      Complex, “How To Store Your Sneaker Collection,” August 27, 2013,
      https://www.complex.com/sneakers/2013/08/sneaker-collection-storage-tips(“If I had a choice, I would keep all
      of them in plastic boxes but that can get a bit expensive when you have a lot of shoes. To me that’s another
      addition to the sneaker expense!”).



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glass case to store the replacement pair. 192 Vault NFTs may allow certain Sneakerheads to
collect and trade sneakers while minimizing these security risks.




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                                                      DeJongh “Dee” Wells
                                                      May 5, 2023




192
      Sole Collector, “The Game Stores His Nike Air Mags Behind Bulletproof Glass,” May 13, 2019,
      https://solecollector.com/news/2019/05/the-game-complex-closets (“[T]he insane security measures he took to
      protect his Nike Air Mags […] ‘Not only did I get a new pair of Mags, this room was built specifically so that
      never happens again. We got reinforced steel outside the doors. This [Air Mag display case] is made out of two-
      inch bulletproof glass.’”).



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                                                    Appendix A
                                                  Curriculum Vitae

DeJongh “Dee” Wells
An Obsessed Storyteller- Sales, Marketing, Brand Development, and Social Media




EXPERIENCE                                                                          SKILLS

                                                                                    Implementing a content strategy.
OSD, Worcester, MA- Creative Director/ Content Strategist
July 2007    Present
                                                                                    Delivering high quality content
    ●   Passionate about project management, executing creative                     from concept to production
        projects and programs to schedule, scope, budget, and                       (storytelling).
        speciﬁcation.
                                                                                    Working with a range of digital
    ●   The ﬁrst point of contact for the Brand Creative Team and                   formats.
        build that relationship cross-functionally. Guiding best
                                                                                    Thinking about user experience
        practices, appropriate timeline expectations, and goal
                                                                                    and usability, accessibility, writing
        setting.
                                                                                    for the web, and meeting user
                                                                                    needs with content.
    ●   Responsible for managing and maintaining multiple,
        simultaneous projects of various sizes, many of which can
                                                                                    Relationship building and
        be complex in nature.
                                                                                    stakeholder management, both
                                                                                    internally and externally.
    ●   Implement proven and innovative project management
        solutions to plan and manage projects.
                                                                                    People management- support,
                                                                                    recruit, supervise, train and
    ●   Determine project milestones and build schedules to meet
                                                                                    mentor team members.
        deadlines.
                                                                                    Maximize efforts on strategic
    ●   Manage and track the planning, design, approval, and
                                                                                    vision, budget tracking and
        production processes.
                                                                                    resource allocation.

    ●   Lead communication of timelines, status updates, and                        Proficient in Adobe Lightroom,
        potential risks to the project team.                                        Adobe Premiere, and Final Cut
                                                                                    Pro X.
    ●   Ability to assess, resource, and budget projects following
        a creative brieﬁng.                                                         Conversational in Spanish.

    ●   Communicate expectations internally regarding
        schedules, resourcing, and budgets.
                                                                                    AWARDS
    ●   Exercise critical thinking in navigating cross-functional
        processes and risk resolution.                                              Awarded the key to the City
                                                                                    of Worcester, MA for
    ●   Ensure that projects launch on time, delivering to                          outstanding work with
        expectation.                                                                youth and representing
                                                                                    sneaker culture. (February
    ●   Initiate and drive post-campaign assessments.                               2021)

    ●   Work with athletic companies such as adidas, Jordan
        Brand, New Balance, Nike, Puma, and Reebok.

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   ●   Create marketing campaigns for products that speak
       directly to the target audience on Twitter, Instagram, Tik
       Tok, Facebook, LinkedIn, and Clubhouse to drive sales.




Pensole Lewis College of Business & Design, Detroit, MI -
Director of Content
May 2022   October 2022

   ●   Conceived and implemented concepts, guidelines and
       strategies in various creative projects and oversaw them
       to completion.

   ●   Collaborated with account executives to obtain
       knowledge of the clients’ requirements.

   ●   Directed teams of art directors, illustrators, copywriters.

   ●   Led creative sessions to generate ideas for video, print,
       and photography.

   ●   Revised content and presentations, approved/rejected
       ideas, and provided feedback to the team.

   ●   Expertise across all social media platforms- Facebook,
       LinkedIn, Twitter, Instagram, Tik Tok, and Snapchat.

   ●   Partners included Wolverine Worldwide, J.Crew,
       Timberland, Vans, New Balance, P&G, The North Face,
       Smartwool, and Versace.

Future Focus Media & Youth Training Institute, Worcester,
MA - Creative Director-Photographer/ Filmmaker
July 2011 July 2022
   ●   Managed the day-to-day operations of a photography
       and ﬁlm production company.

   ●   Lead photographer for local and regional events with the
       Boys & Girls Clubs, The Make-A-Wish Foundation, and
       The YWCA.




EDUCATION



Bryant University, Smithﬁeld, RI - Bachelor of Science in Business
Administration.


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                                       Appendix B
                                 Materials Considered

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        Investigating Sneakerhead Culture, Social Identity, amd Brand Preference Among Men,”
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        beating-after-zion-williamsons-shoe-explodes.
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